             Case 3:22-cv-00573-HZ     Document 23                 Filed 08/26/22   Page 1 of 52




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                                     DISTRICT OF OREGON

                                          Portland Division



  LEGACY HEALTH; LEGACY GOOD                                  Case No. 3:22-cv-00573-HZ
  SAMARITAN HOSPITAL AND MEDICAL
  CENTER; LEGACY MOUNT HOOD
  MEDICAL CENTER; LEGACY MERIDIAN                             PLAINTIFFS’ MEMORANDUM IN
  PARK HOSPITAL dba LEGACY MERIDIAN                           OPPOSITION TO DEFENDANTS’
  PARK MEDICAL CENTER; and LEGACY                             MOTION TO DISMISS
  EMANUEL HOSPITAL & HEALTH CENTER
  dba LEGACY EMANUEL MEDICAL                                  (Oral Argument Requested)
  CENTER,

                                    Plaintiffs,

           v.

  VAL HOYLE, in her official capacity as
  Commissioner of the Oregon Bureau of Labor
  and Industries; DUKE SHEPARD, in his
  official capacity as Deputy Commissioner of the
  Oregon Bureau of Labor and Industries, and
  OREGON BUREAU OF LABOR AND
  INDUSTRIES,

                                  Defendants.




PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                          BARRAN LIEBMAN LLP
                                         601 SW SECOND AVENUE, SUITE 2300
                                              PORTLAND, OR 97204-3159
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              Case 3:22-cv-00573-HZ                      Document 23                  Filed 08/26/22            Page 2 of 52




                                                      TABLE OF CONTENTS

                                                                                                                                             Page

  I. INTRODUCTION .......................................................................................................................1

  II. DEFENDANTS’ MOTIONS TO DISMISS EACH OF THE SIX COUNTS OF
        PLAINTIFFS’ FIRST CLAIM FOR RELIEF SHOULD BE DENIED..............................2

            A.         Defendants’ Motion to Dismiss Count One of Plaintiffs’ First Claim for Relief
                       (NLRA preemption) should be denied .....................................................................2

                       1.         Plaintiffs have standing to bring an NLRA preemption claim ....................2

                       2.         The Meal Timing Rule is preempted by the NLRA ....................................3

                                  a.         BOLI’s Meal Timing Rule does not set minimum labor
                                             standards ..........................................................................................4

                                  b.         The Meal Timing Rule is not a narrowly drawn opt-out
                                             provision ..........................................................................................6

                                  c.         Plaintiffs’ claims about BOLI’s Meal Timing Rule cannot be
                                             trivialized by arguing that this is merely a dispute over how to
                                             protect health and safety of workers ................................................7

                                  d.         Defendants’ assertion – that the hardships imposed by its Meal
                                             Timing Rule are unrelated to the process of bargaining – is
                                             inconsistent with the breadth of the NLRA and disregards the
                                             allegations of Plaintiffs’ complaint. .................................................9

            B.         Defendants’ Motion to Dismiss Count Two of Plaintiffs’ First Claim for Relief
                       (conflict preemption) should be denied; Plaintiffs state a claim for relief. ...........10

            C.         Defendants’ Motion to Dismiss Counts Three through Six of Plaintiffs’ First
                       Claim for Relief should be rejected .......................................................................14

  III. PLAINTIFF’S SECOND CLAIM FOR RELIEF (42 USC § 1983) ......................................18

            A.         Plaintiff hospitals’ Second Claim for Relief, Count One, properly alleges
                       violations of the First Amendment and Defendants’ Motion to Dismiss should
                       be denied ................................................................................................................18

                       1.         Plaintiff hospitals have standing based on a common interest with their
                                  employees ..................................................................................................18

                       2.         Plaintiffs have standing to assert their employees’ rights ..........................19

                       3.         A credible threat is sufficient injury ..........................................................19

Page i – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                                             BARRAN LIEBMAN LLP
                                                            601 SW SECOND AVENUE, SUITE 2300
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                                                           PHONE (503) 228-0500 FAX (503) 274-1212
              Case 3:22-cv-00573-HZ                     Document 23                  Filed 08/26/22             Page 3 of 52




                       4.        Diversion of resources is an injury ............................................................20

                       5.        Interference by state actors against individuals exercising their right to
                                 petition for a grievance is actionable under Section 1983 .........................21

                       6.        Plaintiffs have alleged sufficiently detailed facts to support their claim
                                 for relief for interference against individuals exercising their right to
                                 petition .......................................................................................................21

                       7.        Defendants’ conduct discriminates on the basis of viewpoint and
                                 consequently violates the First Amendment ..............................................22

                       8.        Defendants cannot escape responsibility on the theory that there was
                                 only one meeting ........................................................................................24

                       9.        Defendants’ Motion to Dismiss improperly relies upon factual
                                 allegations that are outside the pleadings and record.................................25

            B.         Defendants’ Motion to Dismiss Count Two of the Second Claim for Relief
                       alleging violation of the excessive fines clause incorporated by the due process
                       clause should be denied .........................................................................................26

                       1.        Standard: A fine is unconstitutionally excessive if the amount is grossly
                                 disproportional to the gravity of the offense, as Defendants’ proposed
                                 fines are ......................................................................................................26

                       2.        BOLI’s assessment of fines against Plaintiffs was excessive ....................27

                       3.        The court should reject Defendants’ argument that this claim
                                 is not ripe....................................................................................................28

            C.         Defendants’ Motion to Dismiss Count Three of the Second Claim for Relief
                       alleging violation of equal protection rights should be denied ..............................32

  IV. THE COURT SHOULD REJECT DEFENDANTS’ YOUNGER ABSTENTION
        ARGUMENTS ...................................................................................................................35

  V. CONCLUSION ........................................................................................................................43




Page ii – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                                            BARRAN LIEBMAN LLP
                                                           601 SW SECOND AVENUE, SUITE 2300
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                                                          PHONE (503) 228-0500 FAX (503) 274-1212
               Case 3:22-cv-00573-HZ                       Document 23                 Filed 08/26/22             Page 4 of 52




                                                     TABLE OF AUTHORITIES

                                                                                                                                               Page
  Cases
  Am. Diabetes Ass'n v. United States Dep't of the Army, 938 F.3d 1147 (9th Cir. 2019) ................. 20

  Am. Hotel & Lodging Ass’n v. City of Los Angeles, 834 F.3d 958 (9th Cir. 2016) ........................... 5

  Arevalo v. Hennessy, 882 F.3d 763 (9th Cir. 2018) ................................................................... 35-36

  Associated Builders & Contractors, Golden Gate Chapter, Inc. v. Baca, 769 F. Supp. 1537 (N.D.
    Cal. 1991)....................................................................................................................................... 3

  Balistreri v. Pacifica Police Dep't, 901 F.2d 696 (9th Cir. 1988) ..................................................... 1

  Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) .................................................................. 1, 17, 33

  Biafora v. United States, 773 F.3d 1326 (Fed. Cir. 2014) ............................................................... 31

  Bill Johnson’s Rests., Inc. v. NLRB, 461 U.S. 731 (1983)............................................................... 22

  Boardman v. Inslee, 978 F.3d 1092 (9th Cir. 2020) ............................................................ 23, 33, 34

  Borough of Duryea v. Guarnieri, 564 U.S. 379 (2011) ................................................................... 22

  Bostock v. Clayton Cty., 140 S. Ct. 1731 (2020) ............................................................................... 9

  Bradley v. Hall, 64 F.3d 1276 (9th Cir. 1995) ................................................................................. 22

  Branch v. Tunnell, 14 F.3d 449 (9th Cir. 1994)............................................................................... 25

  Brown v. Ferro Corp., 763 F.2d 798 (6th Cir. 1985) ...................................................................... 30

  C.E.R. 1988, Inc. v. Aetna Cas. & Sur. Co., 386 F.3d 263 (3d Cir. 2004) ...................................... 11

  California v. U.S. HHS, 941 F.3d 410 (9th Cir. 2019) .................................................................... 24

  Cervantes v. City of San Diego, 5 F.3d 1273 (9th Cir. 1993) .......................................................... 25

  Chamber of Commerce of the United States v. Bragdon, 64 F.3d 497 (9th Cir. 1995) ................. 3, 4

  Church of Scientology. v. Flynn, 744 F.2d 694 (9th Cir. 1984)......................................................... 1

  Close v. Sotheby’s, Inc., 909 F.3d 1204 (9th Cir. 2018) .................................................................. 10

  Colo. River Water Conservation Dist. v. United States, 424 U.S. 800 (1976) ................................ 36

  Conley v. Gibson, 355 U.S. 41 (1957) ....................................................................................... 33, 34


Page iii – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                                              BARRAN LIEBMAN LLP
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               Case 3:22-cv-00573-HZ                        Document 23                 Filed 08/26/22             Page 5 of 52




  Contreras v. City of Chicago, No. 94 C 4201, 1994 U.S. Dist. LEXIS 17770 (N.D. Ill. Dec. 9,
    1994) ............................................................................................................................................ 42

  Ctr. For Democracy & Tech. v. Pappert, 337 F. Supp. 2d 606 (E.D. Pa. 2004) ............................. 20

  Davidson v. Kimberly-Clark Corp., 889 F.3d 956 (9th Cir. 2018) .................................................. 24

  Elend v. Basham, 471 F.3d 1199 (11th Cir. 2006) .......................................................................... 29

  Emerald Steel Fabricators, Inc. v. Bureau of Labor & Indus., 348 Or. 159 (2010) ....................... 11

  Ex parte Young, 209 U.S. 123 (1908) .............................................................................................. 16

  Fort Halifax Packing Co. v. Coyne, 482 U.S. 1 (1987) ..................................................................... 5

  Frew v. Hawkins, 540 U.S. 431 (2004)...................................................................................... 15, 16

  Gibson v. Berryhill, 411 U.S. 564 (1973) ........................................................................................ 42

  Golden State Transit Corp. v. Los Angeles, 475 U.S. 608 (1986) ..................................................... 3

  Green Party of Tenn. v. Hargett, 767 F.3d 533 (6th Cir. 2014) ...................................................... 31

  Grieve v. Tamerin, 269 F.3d 149 (2d Cir. 2001) ............................................................................. 36

  Hong Kong Supermarket v. Kizer, 830 F.2d 1078 (9th Cir. 1987) .................................................... 2

  Houchins v. KQED, Inc., 438 U.S. 1 (1978).................................................................................... 23

  Interpipe Contr., Inc. v. Becerra, 898 F.3d 879 (9th Cir. 2018)........................................................ 7

  Int'l Ass'n of Machinists & Aero. Workers v. Wis. Emp't Relations Comm'n, 427 U.S. 132 (1976) . 3

  Jones v. Rath Packing Co., 430 U.S. 519 (1977)............................................................................. 10
  Kingdomware Techs, Inc v. United States, 579 U.S. 162 (2016) .................................................... 24

  Klein v. Or. Bureau of Labor & Indus., 317 Or. App. 138 (2022) .................................................. 29

  Krahm v. Graham, 461 F.2d 703 (9th Cir. 1972)............................................................................. 42

  Kugler v. Helfant, 421 U.S. 117 (1975) .......................................................................................... 42

  Ky. Ass’n of Health Plans v. Miller, 538 U.S. 329 (2003)............................................................. 4-5

  Lamb’s Chapel v. Ctr. Moriches Union Free Sch. Dist., 508 U.S. 384 (1993) ............................... 23

  Lee v. City of Los Angeles, 250 F.3d 668 (9th Cir. 2001) ................................................................ 25

  Livadas v. Bradshaw, 512 U.S. 107 (1994) ....................................................................................... 6


Page iv – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                                               BARRAN LIEBMAN LLP
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               Case 3:22-cv-00573-HZ                        Document 23                 Filed 08/26/22             Page 6 of 52




  Marder v. Lopez, 450 F.3d 445 (9th Cir. 2006) ............................................................................... 25

  Matal v. Tam, 137 S. Ct. 1744 (2017) ............................................................................................. 23

  McMichael v. County of Napa, 709 F.2d 1268 (9th Cir. 1983) ......................................................... 2

  Metro. Life Ins. Co. v. Mass., 471 U.S. 724 (1985) ....................................................................... 4, 5

  MetroPSC Cal., LLC v. Picker, 970 F.3d 1106 (9th Cir. 2020) ...................................................... 12

  Michael v. Letchinger, No. 10 C 3897, 2011 U.S. Dist. LEXIS 86685 (N.D. Ill. Aug. 5, 2011) .... 41

  Middlesex Cty. Ethics Comm. v. Garden State Bar Ass’n, 457 U.S. 423 (1982) ............................ 36

  Murphy v. Commonwealth of Va., 896 F. Supp. 577 (E.D. Va. 1995) ............................................ 42

  N.Y. State Dep’t of Soc. Servs. v. Dublino, 413 U.S. 405 (1973) .................................................... 12

  NAACP v. Ala. ex rel. Patterson, 357 U.S. 449 (1958) ................................................................... 19

  Nat’l Broad. Co. v. Bradshaw, 70 F.3d 69 (9th Cir. 1995) ............................................................... 6

  New Orleans Pub. Serv., Inc. v. Council of New Orleans, 491 U.S. 350 (1989)............................. 35

  NLRB v. City Disposal Sys., Inc., 465 U.S. 822 (1984) ............................................................... 9-10

  O’Keefe v. Van Boening, 82 F.3d 322 (9th Cir. 1996)..................................................................... 22

  Ohio Civil Rights Comm’n v. Dayton Christian Schs., Inc., 477 U.S. 619 (1986) .......................... 36

  Olech v. Vill. of Willowbrook, No. 97 C 4935, 2002 U.S. Dist. LEXIS 9266 (N.D. Ill. May 23,
    2002) ............................................................................................................................................ 32

  Papasan v. Allain, 478 U.S. 265 (1986) ............................................................................................ 1
  Parks Sch. of Business v. Symington, 51 F.3d 1480 (9th Cir. 1995).................................................. 1

  Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89 (1984) ............................................ 14, 15

  Pharm. Research & Mfrs. of Am. v. Walsh, 538 U.S. 644 (2003) ................................................... 12

  Raygor v. University of Minn., 604 N.W.2d 128 (2000) ................................................................. 14

  Rogers v. Saylor, 306 Or. 267 (1988) .............................................................................................. 14

  Rosacker v. Multnomah Cty., 43 Or. App. 583 (1979) .................................................................... 14

  Rynearson v. Ferguson, 903 F.3d 920 (9th Cir. 2018) .................................................................... 35

  Sacramento Cty. Retired Emples. Ass’n v. Cty. Of Sacramento, 975 F. Supp. 2d 1150 (E.D. Cal.
    2013) ............................................................................................................................................ 34

Page v – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                                               BARRAN LIEBMAN LLP
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               Case 3:22-cv-00573-HZ                       Document 23                 Filed 08/26/22            Page 7 of 52




  Shalala v. Ill. Council on Long Term Care, 529 U.S. 1 (2000) ....................................................... 30

  Shaw v. Murphy, 532 U.S. 223 (2001)............................................................................................. 22

  Skyline Wesleyan Church v. Cal. Dep’t of Managed Health Care, 959 F.3d 341 (9th Cir. 2020) .. 30

  Smith v. Pac. Props. & Dev. Corp., 358 F.3d 1097 (9th Cir. 2004) ................................................ 20

  Spencer v. Kemna, 523 U.S. 1 (1988) .............................................................................................. 24

  Sun Sav. & Loan Ass’n v. Dierdorff, 825 F.2d 187 (9th Cir. 1987)................................................... 1

  Tarabochia v. Hill, 140 Fed. Appx. 753 (9th Cir. 2005) ................................................................. 22

  Teamsters Union v. Oliver, 358 U.S. 283 (1959) .............................................................................. 3

  Thomas v. Union Carbide Agric. Prods. Co., 473 U.S. 568 (1985) ................................................ 30

  Timbs v. Indiana, 139 S. Ct. 682 (2019) .......................................................................................... 26

  Toilet Goods Ass’n v. Gardner, 387 U.S. 158 (1967)...................................................................... 30

  Torres v. Frias, 68 F. Supp. 2d 935 (N.D. Ill. 1999) ................................................................. 39, 40

  United States v. Bajakajian, 524 U.S. 321 (1998) ........................................................................... 26

  United States v. The State of Idaho, Case No. 1:22-cv-00329-BLW (D. Idaho Aug. 24, 2022) ..... 13

  Va. Office for Prot. & Advocacy v. Stewart, Va. Office for Prot. & Advocacy v. Stewart, 563 U.S.
    247 (2011) .................................................................................................................................... 16

  Valle Del Sol Inc. v. Whiting, 732 F.3d 1006 (9th Cir. 2013).......................................................... 19

  Verizon Md. Inc. v. PSC, 535 U.S. 635 (2002) ................................................................................ 16
  Viceroy Gold Corp. v. Aubry, 75 F.3d 482 (9th Cir. 1996) ..................................... 2, 5, 6, 18, 34, 35

  Warren v. Fox Family Worldwide, Inc., 328 F.3d 1136 (9th Cir. 2003) ......................................... 25

  Willowbrook v. Olech, 528 U.S. 562 (2000) .................................................................................... 32

  Young v. Klutznick, 652 F.2d 617 (6th Cir. 1981) ........................................................................... 30

  Younger v. Harris, 401 U.S. 37 (1971) ...................................................................................... 35, 37

  Federal Codes and Regulations
  28 U.S.C.S. § 1367..................................................................................................................... 14, 15

  29 U.S.C.S. § 157............................................................................................................................... 4


Page vi – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                                              BARRAN LIEBMAN LLP
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                                                            PHONE (503) 228-0500 FAX (503) 274-1212
               Case 3:22-cv-00573-HZ                      Document 23                  Filed 08/26/22           Page 8 of 52




  29 U.S.C.S. § 158............................................................................................................................... 4

  42 U.S.C. § 1302 .............................................................................................................................. 13

  42 USC § 1395cc(a)(1)(I)(i) ............................................................................................................ 13

  42 USC § 1395dd ............................................................................................................................. 13

  42 USC § 1395dd(f) ......................................................................................................................... 13

  42 U.S.C. § 1395hh .......................................................................................................................... 13

  42 U.S.C. § 1395rr ........................................................................................................................... 13

  42 U.S.C. § 1861 .............................................................................................................................. 13

  42 U.S.C. § 1983 .............................................................................................................................. 18

  42 C.F.R. § 482 .......................................................................................................................... 12, 13

  42 C.F.R. § 482.11 ........................................................................................................................... 13

  State Statutes and Rules

  OAR 839-020-0050 ................................................................................................................. 2, 5, 28

  OAR 839-020-0050(2)(a) .................................................................................................................. 5

  OAR 839-020-0050(2)(c) .................................................................................................................. 5

  OAR 839-020-0050(2)(d) .............................................................................................................. 4, 5

  OAR 839-020-0050(3)(b) .................................................................................................................. 5

  OAR 839-020-0050(7) ................................................................................................................... 4, 6

  OAR 839-020-0050, App. A.............................................................................................................. 5

  ORS 183.390 .............................................................................................................................. 17, 40

  ORS 441.168 .................................................................................................................................... 40

  Other Authorities

  Robert C. Farrell, The Equal Protection Class of One Claim: Olech, Enquist, and the Supreme
    Court’s Misadventure, 61 S.C. LAW REV. 111 (2009) ................................................................ 33

  Seth F. Kreimer, Censorship by Proxy: The First Amendment, Internet Intermediaries, and the
    Problem of the Weakest Link, 155 U. PA. L. REV. 11 (2006) ...................................................... 19



Page vii – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                                              BARRAN LIEBMAN LLP
                                                             601 SW SECOND AVENUE, SUITE 2300
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                                                            PHONE (503) 228-0500 FAX (503) 274-1212
              Case 3:22-cv-00573-HZ          Document 23                Filed 08/26/22   Page 9 of 52




                                          I. INTRODUCTION

            From time to time federal courts have found it necessary to intervene when what could have

  been a purely state regulatory matter or action ends up impinging upon federal rights or

  responsibilities. The Legacy Plaintiffs’ lawsuit presents such a case.

            The allegations of Plaintiffs’ complaint cannot be ignored but rather must be taken as true.

  To survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted as true,

  to “state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

  (2007); see, e.g., Church of Scientology. v. Flynn, 744 F.2d 694, 696-97 (9th Cir. 1984) (concluding

  plaintiff sufficiently alleged the existence of defamatory meaning in defendant’s statements and

  denying defendant’s motion to dismiss). The court construes the pleading in the light most favorable

  to plaintiff and resolves all doubts in plaintiff’s favor. Parks Sch. of Business v. Symington, 51 F.3d

  1480, 1484 (9th Cir. 1995); Sun Sav. & Loan Ass’n v. Dierdorff, 825 F.2d 187, 191 (9th Cir. 1987)

  (cited in Defendants’ Motion to Dismiss at page 8). 1 “[O]nce a claim has been stated adequately, it

  may be supported by showing any set of facts consistent with the allegations in the complaint.”

  Twombly, 550 U.S. at 563. Dismissal is appropriate only where the plaintiff fails to state a claim

  supportable by a cognizable legal theory. Balistreri v. Pacifica Police Dep't, 901 F.2d 696, 699 (9th

  Cir. 1988) (internal citations omitted).

            Defendants assert that the court is “‘not bound to accept as true a legal conclusion couched
  as a factual allegation’” (Motion, p. 8.) (citing Twombly, 550 U.S. at 555 (quoting Papasan v. Allain,

  478 U.S. 265, 286 (1986)). That principle is inapplicable here, where Plaintiffs’ legal conclusions

  are supported by detailed facts and where even Defendants apparently considered it necessary to

  support its motions with declarations to present facts outside the pleadings.




  1
      Hereinafter, Defendants’ Motion to Dismiss shall be referred to as “Motion, p. __.”

Page 1 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                               BARRAN LIEBMAN LLP
                                              601 SW SECOND AVENUE, SUITE 2300
                                                   PORTLAND, OR 97204-3159
                                             PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ         Document 23                Filed 08/26/22   Page 10 of 52




          II. DEFENDANTS’ MOTIONS TO DISMISS EACH OF THE SIX COUNTS OF
                PLAINTIFFS’ FIRST CLAIM FOR RELIEF SHOULD BE DENIED

            Count One of Plaintiffs’ First Claim for Relief seeks a declaration that OAR 839-020-0050

  (hereinafter referred to as the “Meal Timing Rule”) is invalid because the rule is preempted by the

  National Labor Relations Act (“NLRA”). Count Two (conflict preemption of state regulation by

  federal law) seeks a declaration that the Meal Timing Rule is invalid because it is preempted by and

  conflicts with federal law. Count Three seeks a declaration that the Meal Timing Rule is invalid for

  failure to follow applicable rulemaking requirements. Count Four seeks a declaration that the Meal

  Timing Rule exceeds relevant statutory authority. Count Five seeks a declaration that the Meal

  Timing Rule is invalid because it conflicts with clearly stated rules governing the practice of nursing.

  Count Six seeks a declaration that the Meal Timing Rule interferes with the response to public health

  emergencies. The complaint states a claim upon which relief can be granted as to each of these.

  A.        Defendants’ Motion to Dismiss Count One of Plaintiffs’ First Claim for Relief (NLRA
            preemption) should be denied

            1.         Plaintiffs have standing to bring an NLRA preemption claim

            “The constitutional limitations of article III contain three components: (1) a threatened or

  actual distinct and palpable injury to the plaintiff; (2) a fairly traceable causal connection between

  the alleged injury and the defendant’s challenged conduct; and (3) a substantial likelihood that the

  requested relief will redress or prevent the injury.” Hong Kong Supermarket v. Kizer, 830 F.2d 1078,

  1081 (9th Cir. 1987) (citing McMichael v. County of Napa, 709 F.2d 1268, 1270 (9th Cir. 1983)).

  Plaintiffs have standing.

            Plaintiffs allege an actual, distinct, and palpable injury. The manner in which the Bureau of

  Labor and Industries (“BOLI” or “Agency”) has written, issued and enforced the Meal Timing Rule

  against Plaintiffs but not against similarly situated healthcare institutions places Plaintiffs at an

  ongoing competitive disadvantage in comparison to unionized hospitals which are exempted from

  the onerous rules. See Viceroy Gold Corp. v. Aubry, 75 F.3d 482, 488-89 (9th Cir. 1996) (concluding

  that placing an entity at a competitive disadvantage is an injury in fact and thus supports standing).

Page 2 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                              BARRAN LIEBMAN LLP
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                                            PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ        Document 23                Filed 08/26/22   Page 11 of 52




  See also Associated Builders & Contractors, Golden Gate Chapter, Inc. v. Baca, 769 F. Supp. 1537,

  1542 (N.D. Cal. 1991) (“The economic consequences to [plaintiff’s] members, both in terms of

  increased direct costs and reduced competitiveness within the construction industry, satisfies the

  injury-in-fact requirement.”), aff'd sub nom Chamber of Commerce of the United States v. Bragdon,

  64 F.3d 497 (9th Cir. 1995). BOLI’s enforcement of its Meal Timing Rule, because Plaintiffs’ are

  not permitted to enjoy the exemption offered to similarly situated union hospitals, has caused actual

  financial injury to Plaintiffs and striking down the rule would redress Plaintiffs’ injury, in part, by

  eliminating the competitive advantage unionized hospitals are granted. In addition, Plaintiffs have

  been injured because they have been informed they will be fined and now must spend large sums to

  defend against BOLI’s further imposition of excessive fines.

            2.         The Meal Timing Rule is preempted by the NLRA

            “[S]tate legislation, which interferes with the economic forces that labor or management can

  employ in reaching agreements, is pre-empted by the NLRA because of its interference with the

  bargaining process.” Bragdon, 64 F.3d at 501 (citing Golden State Transit Corp. v. Los Angeles, 475

  U.S. 608 (1986)). In addition, “[S]tate attempts to influence the substantive terms of collective-

  bargaining agreements are as inconsistent with the federal regulatory scheme as are such attempts

  by the NLRB: ‘Since the federal law operates here, in an area where its authority is paramount, to

  leave the parties free, the inconsistent application of state law is necessarily outside the power of
  the State.’” Int'l Ass'n of Machinists & Aero. Workers v. Wis. Emp't Relations Comm'n, 427 U.S.

  132, 153 (1976) (citing Teamsters Union v. Oliver, 358 U.S. 283, 296 (1959)); see also Bragdon,

  64 F.3d at 501 (“[T]he substantive requirements could be so restrictive as to virtually dictate the

  results of the contract. The objective of allowing the bargaining process ‘to be controlled by the

  free-play of economic forces’ can be frustrated by the imposition of substantive requirements, as

  well as by the interference with the use of economic weapons.”). Bragdon articulated an issue which

  is important in this dispute and the resolution of Defendants’ motion: “The question then becomes

  the extent of the substantive requirements that a state may impose on the bargaining process.” 64

Page 3 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                             BARRAN LIEBMAN LLP
                                            601 SW SECOND AVENUE, SUITE 2300
                                                 PORTLAND, OR 97204-3159
                                           PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ       Document 23                 Filed 08/26/22   Page 12 of 52




  F.3d at 501. That requires a factual determination on evidence that has not yet been presented to

  the court, and turns a blind eye to the very concern raised in Bragdon that “this substitutes the free-

  play of political forces for the free-play of economic forces that was intended by the NLRA.” Id. at

  504.

            The imposition of the Meal Timing Rule on nonunion hospitals—but not on unionized

  hospitals—penalizes nonunion hospitals and their employees who have chosen not to unionize.

  (Plaintiffs’ First Amended Complaint 2 ¶ 100.) States are prohibited from passing laws that interfere

  with the workers’ freedom to choose or not choose to join a union. Section 7 of the NLRA protects

  the rights of employees to “form, join, or assist labor organizations . . . and . . . to refrain from any

  or all of such activities . . . .” 29 U.S.C.S. § 157. (FAC ¶ 101.) Section 8 of the NLRA prohibits

  employers and labor organizations from interfering with employee rights protected under Section 7

  of the statute. 29 U.S.C.S. § 158. (FAC ¶ 101.) These provisions protect a worker’s right freely to

  choose between unionization and non-unionization in accordance with their personal viewpoints.

  (FAC ¶ 101.) The provision of OAR 839-020-0050(2)(d) that requires specific limits as to when

  meal periods are to be taken, particularly as to employees working shifts of 12 hours or more,

  imposes an onerous burden. (FAC ¶ 103.) When the Meal Timing Rule is read together with the

  provision of OAR 839-020-0050(7), which permits unionized employers through collective

  bargaining to modify the state’s regulations, the Meal Timing Rule runs afoul of federal law and is

  preempted. (FAC ¶ 103.)

            This court should reject Defendants’ challenge to NLRA preemption. (Motion, pp. 17-20.)

                       a.   BOLI’s Meal Timing Rule does not set minimum labor standards

            Defendants mistake the legal principles that have developed to address those narrow

  circumstances in which a state may set minimum labor standards. In Metro. Life Ins. Co. v. Mass.,

  471 U.S. 724, 757-58 (1985), overruled in part on other grounds by Ky. Ass’n of Health Plans v.


  2
      Hereinafter, Plaintiffs’ First Amended Complaint is referred to as “FAC.”

Page 4 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                             BARRAN LIEBMAN LLP
                                            601 SW SECOND AVENUE, SUITE 2300
                                                 PORTLAND, OR 97204-3159
                                           PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ      Document 23                Filed 08/26/22           Page 13 of 52




  Miller, 538 U.S. 329 (2003), and Fort Halifax Packing Co. v. Coyne, 482 U.S. 1, 7 (1987), the Court

  held that in certain circumstances the NLRA does not preempt a state law regulation which

  “establishes a minimum labor standard that does not intrude upon the collective-bargaining

  process.” Fort Halifax, 482 U.S. at 7; accord Metro. Life, 471 U.S. at 744-45. (FAC ¶ 107.) The

  state Defendants here rely upon Fort Halifax, 482 U.S. at 22 (upholding state law requiring

  severance payments to laid off employees but allowing unionized workers to opt out through a

  CBA); Viceroy, 75 F.3d at 489-90 (upholding California law setting a maximum work day standard

  for mine workers but allowing unionized workers to opt out through a collective bargaining

  agreement); Am. Hotel & Lodging Ass’n v. City of Los Angeles, 834 F.3d 958, 964-65 (9th Cir.

  2016) (upholding county ordinance setting a minimum wage and time-off compensation but

  allowing unionized workers to opt out through a collective bargaining agreement). (Motion, pp.

  17-18.) This is not such a case, and the Meal Timing Rule is not a minimum standard regulation.

            BOLI’s     Meal   Timing   Rule,     which         presents            a   complicated   component   of

  OAR 839-020-0050(2)(d), does not prescribe a minimum labor standard. Such a generally

  applicable minimum standards would perhaps be such as requiring that a meal period be not less

  than 30 continuous minutes (OAR 839-020-0050(2)(a)) or requiring that an employee who is not

  relieved of all duties for 30 continuous minutes must be paid for the entire 30-minute meal period

  (OAR 839-020-0050) or providing that an employee who has worked a specific number of hours

  shall be entitled to a specific number of meal periods (OAR 839-020-0050(2)(c) and App. A to OAR

  839-020-0050). (FAC ¶ 107.) The Meal Timing Rule falls outside those parameters. It is not

  generally applicable. It can be applicable or not depending on whether an employee is or is not paid

  a salary even though the duties may be identical, and it allows the substitution of an undefined

  shorter period in the case of “industry practice or custom.” OAR 839-020-0050(3)(b). It includes

  special requirements for continuous processes and other circumstances. The rule requires more than

  1700 words to address different kinds of specific or unique situations.



Page 5 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                           BARRAN LIEBMAN LLP
                                          601 SW SECOND AVENUE, SUITE 2300
                                               PORTLAND, OR 97204-3159
                                         PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ       Document 23                 Filed 08/26/22   Page 14 of 52




            The rule also differs in degree and kind from minimum standards because it prescribes rigid

  requirements as to the exact, short two-hour time period after the completion of the third hour

  worked and completed prior to the commencement of the sixth hour worked when healthcare

  workers working 12 hours or more must take their meal breaks with different requirements for

  different schedules. (FAC ¶ 108.) Since all employees would not be taking their meal break at the

  same time because of patient needs, some employees working a long shift would be required to take

  the meal break immediately after the completion of the third hour worked, possibly close in time to

  having taken a rest period, and then be on duty the remaining eight hours without a meal period.

  The requirement imposes an undue hardship, endangers health of workers and their patients, and

  places licensed healthcare personnel at risk of violating their nursing standards and potentially losing

  their licenses. (FAC ¶ 108.)

                       b.   The Meal Timing Rule is not a narrowly drawn opt-out provision

            The Supreme Court in Livadas v. Bradshaw, 512 U.S. 107, 132 (1994) stated that its holding

  “cast no shadow on the validity of . . . familiar and narrowly drawn opt-out provisions.” Defendants

  rely upon Viceroy to argue that its rule is valid, apparently believing it to be such a “familiar and

  narrowly drawn” provision. 75 F.3d at 489. Defendants’ mistake the import of Viceroy, in which

  the court held an eight-hour cap on daily work provided minimum protection for mine workers and

  was a narrowly tailored opt-out provision and therefore was not preempted. Id. at 489-90; accord

  Nat’l Broad. Co. v. Bradshaw, 70 F.3d 69, 72-73 (9th Cir. 1995) (requiring broadcast industry to

  pay double time for work in excess of 12 hours narrowly drawn opt-out; not preempted).

            BOLI’s Meal Timing Rule, however, is not a familiar or narrowly drawn or narrowly tailored

  opt-out provision. Defendants have not provided the court with any argument or evidence to support

  a theory that the provision is familiar or narrowly drawn. Instead, OAR 839-020-0050(7) broadly

  provides that any union employees covered by any collective bargaining agreement in any industry

  performing any type of work may opt out and change meal and rest periods in numerous ways,

  including but not limited to:

Page 6 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                             BARRAN LIEBMAN LLP
                                            601 SW SECOND AVENUE, SUITE 2300
                                                 PORTLAND, OR 97204-3159
                                           PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ            Document 23                Filed 08/26/22   Page 15 of 52




                  •    Changing the time when the meal period and rest period are taken;

                  •    Changing the length of the meal period or rest period;

                  •    Providing for flexibility of scheduling;

                  •    Extending the duration of the shift for which meal and rest periods are permitted;

                  •    Allowing employees to combine meal and rest periods;

                  •    Eliminating all requirements as to the timing of meal period breaks;

                  •    Decreasing the number of meal periods;

                  •    Decreasing the number of rest periods; and

                  •    Combining meal periods and rest periods.
                       c.     Plaintiffs’ claims about BOLI’s Meal Timing Rule cannot be trivialized
                              by arguing that this is merely a dispute over how to protect health and
                              safety of workers

            Defendants argue “Legacy’s disagreement with BOLI over how to best safeguard the health

  and safety of workers does not distinguish this case from the ‘flotilla of cases upholding generally

  applicable labor laws that include opt-out provisions limited to CBAs.’” (Motion, p. 20) (quoting

  Interpipe Contr., Inc. v. Becerra, 898 F.3d 879, 889 (9th Cir. 2018). This is not a trivial spat.

  Defendants, who have already been unable to account for their use of penalty dollars, seek to collect

  millions of dollars in penalties from essential public health services providers, and assign the

  maximum possible amount to de minimis claimed infractions in a way that will disable many
  essential services. Plaintiffs are expert medical professionals and healthcare providers who

  understand far better than defendants how the Meal Timing Rule interferes with their work of

  providing essential healthcare services such as emergency departments and neonatal care. They are

  also painfully familiar with a longstanding shortage of essential healthcare workers which was

  known to have begun before the turn of this century.

            The state trivializes Legacy’s assertions here by suggesting that this is only a single dispute

  over how to protect the health and safety of workers. (Motion, p. 20.) To the contrary, Plaintiffs’

  complaint articulates in detail that this dispute implicates Constitutional protections, rulemaking,

Page 7 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                                 BARRAN LIEBMAN LLP
                                                601 SW SECOND AVENUE, SUITE 2300
                                                     PORTLAND, OR 97204-3159
                                               PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ           Document 23                Filed 08/26/22   Page 16 of 52




  professional licensure, and critical patient care. The complaint includes multiple allegations,

  including those summarized below:

            •     The Meal Timing Rule imposes an undue hardship, endangers health of workers and
                  their patients, and places nurses at a risk of violating their nursing standards and

                  potentially losing their licenses. (FAC ¶ 108.)

            •     The Meal Timing Rule requires Plaintiffs’ employees working 12-hour shifts to take a
                  meal break mid-morning and then work the duration of their shift (eight hours or more)

                  with no meal break. (FAC ¶ 26.)

            •     The Meal Timing Rule interferes with Plaintiff hospitals’ ability to carry out their public
                  and/or charitable purposes and contributes to fatigue and discomfort of nurses and

                  increased operational expenses. (FAC ¶ 30.)

            •     The Meal Timing Rule assumes employees operate eight-hour shifts and is not designed
                  for healthcare employees working 12-hour shifts or longer. (FAC ¶ 30.)

            •     In light of a longstanding and nationwide shortage of nursing professionals and other
                  healthcare workers, healthcare employees are burdened by the Meal Timing Rule when

                  licensure requirements provide that nurses are forbidden from leaving patients when to

                  do so would jeopardize the patients’ safety and health. (FAC ¶¶ 35-36.)

            •     Emergency Department nurses (who are the sole focus of BOLI in its Notices of Intent
                  to Assess Penalties (NOIs) directed at Plaintiff Meridian Park Hospital and Plaintiff

                  Mount Hood Medical Center) and Family Birth Center employees (who are the principal

                  focus of BOLI’s NOIs directed at Good Samaritan Hospital) are faced with challenges

                  that require immediate and uninterrupted attention of nurses or teams of nurses. (FAC

                  ¶¶ 38-39.)

            •     Healthcare practitioners are not fungible; thus, for example, an Emergency Room
                  employee cannot fill in to provide breaks for an employee in Family Birthing or vice

                  versa. (FAC ¶ 40.)

Page 8 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                                BARRAN LIEBMAN LLP
                                               601 SW SECOND AVENUE, SUITE 2300
                                                    PORTLAND, OR 97204-3159
                                              PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ        Document 23                 Filed 08/26/22   Page 17 of 52




            The court should reject Defendants’ mischaracterization of this dispute which asks the court,

  improperly, to ignore extensive factual allegation which support Plaintiffs’ claims for relief.

                       d.   Defendants’ assertion – that the hardships imposed by its Meal Timing
                            Rule are unrelated to the process of bargaining – is inconsistent with
                            the breadth of the NLRA and disregards the allegations of Plaintiffs’
                            complaint.

            Defendants recognize that Plaintiffs allege (among other things) that the rule “imposes an

  undue hardship, endangers health of workers and their patients, and places nurses at risk of violating

  their nursing standards and potentially losing their licenses but dismiss those concerns by arguing

  they are ‘unrelated in any way to the process of bargaining or self-organization.’” (Motion, pp.

  19-20). Such an argument disregards the scope of the federal NLRA, whose provisions extend well

  beyond collective bargaining and self-organization.

            A cornerstone of this law, which has its origins in the 1930’s and has defined this country’s

  labor policy for many decades, is Section 7 of the Act which provides that: “Employees shall have

  the right to self-organization, to form, join, or assist labor organizations, to bargain collectively

  through representatives of their own choosing, and to engage in other concerted activities for the

  purpose of collective bargaining or other mutual aid or protection . . . .” (Emphasis added).

            Defendants’ argument, that the NLRA coverage may be narrowed to self-organization, is

  incomplete and represents an inaccurate understanding of the scope of the federal labor law.
  (Motion, p. 19.) The interests governed by the NLRA are broader and include “concerted activities”

  for “other mutual aid or protection.” Congress could have enacted a limited law to cover just union

  or self-organizing, or even narrowed the scope of the law to a smaller and defined set of

  circumstances. Congress, however, decided to reach a very broad set of circumstances with

  Section 7, including “concerted activity.” 3 See NLRB v. City Disposal Sys., Inc., 465 U.S. 822, 830-



  3
    As the court recently commented in Bostock v. Clayton Cty., 140 S. Ct. 1731, 1739 (2020),
  interpreting a different law “Congress could have taken a more parsimonious approach” but chose
  not to.

Page 9 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                              BARRAN LIEBMAN LLP
                                             601 SW SECOND AVENUE, SUITE 2300
                                                  PORTLAND, OR 97204-3159
                                            PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ       Document 23                 Filed 08/26/22   Page 18 of 52




  31 (1984) (stating that “concerted activity” does not confine itself to a narrow meaning and

  recognizing the possibility that an individual employee may be engaged in concerted activity when

  he acts alone).

            Defendants’ argument addresses only part of the scope of Section 7, leaving out the salient

  portion upon which Legacy relies: the protection of Section 7 rights to engage in concerted activity.

  Plaintiffs made this clear in their First Amended Complaint where they allege “Those employees

  were engaged in collective activity seeking to discuss an onerous working condition.” (FAC ¶ 61.)

            Defendants’ Motion to Dismiss Count One of Plaintiffs’ First Claim for Relief (NLRB

  preemption of state regulation) should be denied. (Motion, pp. 17-20.)

  B.        Defendants’ Motion to Dismiss Count Two of Plaintiffs’ First Claim for Relief
            (conflict preemption) should be denied; Plaintiffs state a claim for relief.

            Defendants’ Motion to Dismiss the conflict preemption claim (Motion, pp. 20-24) should be

  denied because Defendants either misread or ignore Plaintiffs’ allegations at FAC ¶¶ 121-43, and

  because they mistake the legal authorities applicable to conflict preemption. Preemption emanates

  from the Supremacy Clause of the Constitution which prohibits states from interfering with the

  exercise of federal constitutional powers. Close v. Sotheby’s, Inc., 909 F.3d 1204, 1209 (9th Cir.

  2018). Preemption can take different identified forms such as express preemption or field

  preemption but it can also take the form of conflict preemption when state law stands as an obstacle
  to the accomplishment and execution of the full purposes and objectives of Congress. In such a case,

  the court’s task is “to determine whether, under the circumstances of this particular case, [the

  State’s] law stands as an obstacle to the accomplishment and execution of the full purposes and

  objectives of Congress.” Jones v. Rath Packing Co., 430 U.S. 519, 526 (1977) (internal citation

  omitted). “This inquiry requires us to consider the relationship between state and federal laws as

  they are interpreted and applied, not merely as they are written.” Id.

            The state Defendants’ arguments to challenging express and field preemption are forms of

  preemption that Plaintiffs have not even alleged and therefore arguments the court need not consider.


Page 10 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                             BARRAN LIEBMAN LLP
                                            601 SW SECOND AVENUE, SUITE 2300
                                                 PORTLAND, OR 97204-3159
                                           PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ       Document 23                   Filed 08/26/22   Page 19 of 52




  (Motion, p. 23.) Instead, Plaintiffs allege the Meal Timing Rule offends principles of conflict

  preemption because the rule and its enforcement stand as an obstacle to the accomplishment and

  execution of the full purposes and objectives of Congress which has regulated this area through its

  federal funding programs to nonprofit hospitals. Those federal programs require recipients to

  comply with detailed performance standards because of and in the use of federal funding. (FAC

  ¶¶ 125-35.) The nature of federal funding and its accompanying regulations can readily be

  interrupted or affected by state laws and regulations which collide with or interfere with federal

  goals. See C.E.R. 1988, Inc. v. Aetna Cas. & Sur. Co., 386 F.3d 263, 270-72 (3d Cir. 2004)

  (concluding that the purpose of National Flood Insurance Program would have been compromised

  by application of state tort law; state tort lawsuits would have undermined the program’s goal); see

  also Emerald Steel Fabricators, Inc. v. Bureau of Labor & Indus., 348 Or. 159, 186 (2010)

  (“[W]hatever the wisdom of Congress’s policy choice . . . the Supremacy Clause requires that we

  respect that choice when, as in this case, state law stands as an obstacle to the accomplishment of

  the full purposes of the federal law.”).

            The Legacy Plaintiffs allege that they are nonprofit organizations which are subject to

  conditions and requirements imposed by federal statues creating Medicare and Medicaid, that

  BOLI’s Meal Timing Rule and its enforcement of that rule constitutes an obstacle to compliance

  with the tax exempt requirements, and that as a consequence BOLI’s actions will result in diverting
  of Medicare/Medicaid funds that will place Plaintiffs at risk that they will not be able to meet the

  standards of Medicare/Medicaid. (FAC ¶¶ 123-42.) The state, in its Motion to Dismiss,

  mischaracterizes Plaintiffs’ allegations regarding conflict preemption and incorrectly and repeatedly

  asserts that Plaintiffs have alleged that it would be “easier to meet those requirements,” “easier for

  employers to qualify for federal funds,” “easier for recipients to access funds,” and “easier to receive

  and spend federal funds.” (Motion, p. 23.) That is not Plaintiffs’ argument or claim and it is not a

  reasonable argument here. (Motion, p. 23.) Plaintiffs allege that the state’s regulation presents an



Page 11 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                               BARRAN LIEBMAN LLP
                                              601 SW SECOND AVENUE, SUITE 2300
                                                   PORTLAND, OR 97204-3159
                                             PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ       Document 23                Filed 08/26/22   Page 20 of 52




  obstacle to federal programs that are essential to the operation of their nonprofit hospitals which are

  very dependent upon federal funding to carry out their public purpose.

            Defendants cite N.Y. State Dep’t of Soc. Servs. v. Dublino, 413 U.S. 405, 422-23 (1973).

  (Motion, p. 23.) But Dublino does not apply here because that dispute was a federal program that

  authorized the state program: “Here, by contrast, the Act allows for complementary state work

  incentive programs and procedures incident thereto . . . .” 413 U.S. at 422. Moreover, as the Court

  later explained, “we left open questions concerning possible conflicts with the federal program for

  resolution in further proceedings.” Pharm. Research & Mfrs. of Am. v. Walsh, 538 U.S. 644, 667

  (2003). Similarly, the incomplete state of the record was at issue in Pharm., which Defendants cite.

  (Motion, p. 23.) Pharm. explained that “[a]t this stage of the proceeding, the severity of any

  impediment that Maine’s program may impose on a Medicaid patient’s access to the drug of her

  choice is a matter of conjecture.” 538 U.S. at 667-68. If anything, those comments reinforce that

  Defendants in the case at bar are seeking dismissal with no record for the court to review. In any

  event, BOLI’s demand for millions of dollars in penalties and the Agency’s ongoing threats are not

  a “modest impediment” to the Legacy hospitals or their ability to obtain the kind of funding

  necessary to serve the public.

            Finally, Defendants cite MetroPSC Cal., LLC v. Picker, 970 F.3d 1106, 1117-18 (9th Cir.

  2020). (Motion, p. 22.) That dispute involved a coordinated dual regulatory scheme (which is not in
  place in Legacy’s dispute). The Legacy hospitals have not alleged that they were harmed by a dual

  regulatory scheme. Instead, the claims are directed at a state law scheme that impedes federal

  programs.

            BOLI’s meal timing regulation presents an obstacle to the accomplishment and execution of

  the federal regulations governing tax exempt status of charitable hospitals and the conditions of

  participation for hospitals receiving Medicare and Medicaid funding. 42 C.F.R. § 482 sets forth

  requirements of participation for hospitals, such as the Legacy hospitals, receiving Medicare and

  Medicaid and emphasizes that hospitals must meet emergency needs of patients. (FAC ¶¶ 132-34,

Page 12 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                            BARRAN LIEBMAN LLP
                                           601 SW SECOND AVENUE, SUITE 2300
                                                PORTLAND, OR 97204-3159
                                          PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ        Document 23                 Filed 08/26/22   Page 21 of 52




  141.) The federal Emergency Medical Treatment and Labor Act (EMTALA) requires hospitals that

  receive federal Medicare funds to provide necessary stabilizing treatment to patients who arrive at

  their emergency departments while experiencing a medical emergency which includes conditions

  that present risk to life as well as those that place a patient’s health in serious jeopardy or risk serious

  impairment to bodily functions or serious dysfunction of any bodily organ or part. 42 USC §

  1395dd. EMTALA preempts the requirement of any state or local law to the extent it directly

  conflicts with 42 USC § 1395dd. See 42 USC § 1395dd(f). Medicare funding recipients are required

  to agree to provide such services. See 42 USC § 1395cc(a)(1)(I)(i). Most recently, on August 24,

  2022 (just before this memorandum is filed), the federal government obtained a preliminary

  injunction against the State of Idaho in United States v. The State of Idaho, Case No. 1:22-cv-00329-

  BLW (D. Idaho Aug. 24, 2022) on the grounds that an Idaho state law conflicts with EMTALA.

  Furthermore, Medicare’s Conditions of Participation include, for example, requirements of nursing

  services. See 42 C.F.R. § 482. Those regulations impose standards for service with a plan of

  administrative authority, place the responsibility on the director of nursing to determine the types

  and numbers of personnel and staff necessary to provide care. They require 24-hour nursing services

  unless a federal waiver is provided. They require a registered nurse to assign the care of each patient

  in accordance with the patient’s needs. The same rules impose standards on emergency departments

  including that they “meet the emergency needs of patients in accordance with applicable standards

  of practice.” These requirements are imposed on recipients of federal funding as a condition of

  participation in Medicare as authorized by 42 U.S.C. §§ 1302, 1395hh, 1395rr and 1861. See 42

  C.F.R. § 482. 42 C.F.R. § 482.11 provides that a hospital “must be in compliance with applicable

  Federal laws related to the health and safety of patients.”

            At a very basic level, the court can follow the money. The Meal Timing Rule, which

  Plaintiffs allege can and does interfere with the quality of patient care, provides a mechanism for

  BOLI to impose a penalty of $1,000 per claimed violation, which is then used to defray the

  administrative costs of the Agency, previously to support breast feeding education, and pay to the

Page 13 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                              BARRAN LIEBMAN LLP
                                             601 SW SECOND AVENUE, SUITE 2300
                                                  PORTLAND, OR 97204-3159
                                            PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ        Document 23                Filed 08/26/22   Page 22 of 52




  department of state lands to fund education. All this diverts substantial dollars from providing

  necessary healthcare or funding charitable programs.

  C.        Defendants’ Motion to Dismiss Counts Three through Six of Plaintiffs’ First Claim
            for Relief should be rejected

            Defendants ask the court to dismiss four counts from the First Claim for Relief for the same

  reasons; those arguments are addressed collectively in this section. The claims are Count Three (the

  invalidity of rulemaking), Count Four (exceeding authority), Count Five (conflicting superseding

  requirements) and Count Six (invalidity due to critical healthcare emergencies).

            Defendants first make the blanket statement that they cannot be sued unless they expressly

  consented, and that neither the state nor BOLI has consented. (Motion, p. 8.) Such consent is

  statutory. ORS § 30.265(1) provides that, subject to some limitations, “every public body is subject

  to civil action for its torts and those of its officers, employees and agents acting within the scope of

  their employment or duties, whether arising out of a governmental or proprietary function or while

  operating a motor vehicle in a ridesharing arrangement authorized under ORS 276.598.” See also

  Rosacker v. Multnomah Cty., 43 Or. App. 583, 587 (1979) (“We construe the last sentence of ORS

  30.265(1) to incorporate by reference the wrongful conduct set forth in § 1983 as constituting a tort

  by definition under the Oregon Tort Claims Act thereby providing a state-created right for those

  deprived of any rights, privileges or immunities secured by the Constitution of the United States.”);
  see also Rogers v. Saylor, 306 Or. 267, 278 (1988) (state cannot limit recovery in § 1983 action just

  as it cannot require that the plaintiff first submit his claims to the government).

            Defendants next contend that Counts Three through Six are barred by the Eleventh

  Amendment, citing Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 100 (1984),

  superseded by statute as stated in Raygor v. University of Minn., 604 N.W.2d 128 (2000). (Motion,

  p. 9.) Pennhurst, however, was decided six years before the enactment of 28 U.S.C.S. § 1367, which

  codified “supplemental” jurisdiction, and which now provides that “Except as provided in



Page 14 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                             BARRAN LIEBMAN LLP
                                            601 SW SECOND AVENUE, SUITE 2300
                                                 PORTLAND, OR 97204-3159
                                           PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ          Document 23                Filed 08/26/22   Page 23 of 52




  subsections (b) and (c) or as expressly provided otherwise by Federal statute, in any civil action of

  which the district courts have original jurisdiction, the district courts shall have supplemental

  jurisdiction over all other claims that are so related to claims in the action within such original

  jurisdiction that they form part of the same case or controversy under Article III of the United States

  Constitution.” 28 U.S.C.S. § 1367.

            The exceptions, subsections (b) and (c) are diversity jurisdiction and circumstances under

  which a court may decline supplemental jurisdiction. Defendants, accordingly, overstate the scope

  of Pennhurst and the Pennhurst Court itself did not go so far:

            The Eleventh Amendment bars a suit against state officials when “the state is the real,
            substantial party in interest.” Ford Motor Co. v. Department of Treasury of Indiana,
            323 U.S. 459, 464 (1945). See, e. g., In re Ayers, 123 U.S. 443, 487-492 (1887);
            Louisiana v. Jumel, 107 U.S. 711, 720-723, 727-728 (1883). Thus, “[the] general rule
            is that relief sought nominally against an officer is in fact against the sovereign if the
            decree would operate against the latter.” Hawaii v. Gordon, 373 U.S. 57, 58 (1963)
            (per curiam). And, as when the State itself is named as the defendant, a suit against
            state officials that is in fact a suit against a State is barred regardless of whether it
            seeks damages or injunctive relief. See Cory v. White, 457 U.S. 85, 91 (1982).
            The Pennhurst Court added this footnote:

            “The general rule is that a suit is against the sovereign if ‘the judgment sought would
            expend itself on the public treasury or domain, or interfere with the public
            administration,’ or if the effect of the judgment would be ‘to restrain the Government
            from acting, or to compel it to act.’” (citing Dugan v. Rank, 372 U.S. 609, 620
            (1963)).
            Pennhurst, 465 U.S. at 101, n.11.

            In a 2004 decision, Frew v. Hawkins, 540 U.S. 431, 439 (2004), the Court itself distinguished

  Pennhurst and held it was inapplicable in a dispute about a decree which required implementation

  of Medicaid in a detailed way, issues which relate to the Medicare issues discussed above:

            Pennhurst is distinguishable. In that case we found the rationale of Ex parte Young
            inapplicable to suits brought against state officials alleging violations of state law.
            Id., 465 U.S. 89 at 106, 79 L. Ed. 2d 67, 104 S. Ct. 900. Jurisdiction was improper
            because “[a] federal court’s grant of relief against state officials on the basis of state
            law, whether prospective or retroactive, does not vindicate the supreme authority of
            federal law.” Ibid. Here, by contrast, the order to be enforced is a federal decree


Page 15 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                               BARRAN LIEBMAN LLP
                                              601 SW SECOND AVENUE, SUITE 2300
                                                   PORTLAND, OR 97204-3159
                                             PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ         Document 23                Filed 08/26/22   Page 24 of 52




            entered to implement a federal statute. The decree does implement the Medicaid
            statute in a highly detailed way, requiring the state officials to take some steps that
            the statute does not specifically require. The same could be said, however, of any
            effort to implement the general EPSDT statute in a particular way. The decree reflects
            a choice among various ways that a State could implement the Medicaid Act. As a
            result, enforcing the decree vindicates an agreement that the state officials reached to
            comply with federal law.

            Frew v. Hawkins, 540 U.S. 431, 439 (2004).

            Defendants’ reliance on Pennhurst is misplaced.

  The Ex parte Young exception also supports jurisdiction here.

            In Ex parte Young, 209 U.S. 123, 144-45 (1908) the Supreme Court held that a lower federal

  court could enjoin a state official from forcing certain railroad acts that set rates for freight and

  passengers, holding that the case involved federal questions. This exception has been widely applied.

  Verizon Md. Inc. v. PSC, 535 U.S. 635, 646 (2002) held that the Eleventh Amendment did not bar

  plaintiff’s claim against state commission and individual commissioners, stating in part:

            In determining whether the doctrine of Ex parte Young avoids an Eleventh
            Amendment bar to suit, a court need only conduct a “straightforward inquiry into
            whether [the] complaint alleges an ongoing violation of federal law and seeks relief
            properly characterized as prospective.” Idaho v. Coeur d' Alene Tribe of Idaho, 521
            U.S. 261, 296 (1997) (O’CONNOR, J., joined by SCALIA and THOMAS, JJ.,
            concurring in part and concurring in judgment); see also id., 521 U.S. at 298-299
            (SOUTER, J., dissenting, joined by STEVENS, GINSBURG, and BREYER, JJ.).
            Here Verizon sought injunctive and declaratory relief, alleging that the
            Commission’s order requiring payment of reciprocal compensation was pre-empted
            by the 1996 Act and an FCC ruling. The prayer for injunctive relief -- that state
            officials be restrained from enforcing an order in contravention of controlling federal
            law -- clearly satisfies our “straightforward inquiry.”
            Id.

  See also Va. Office for Prot. & Advocacy v. Stewart, Va. Office for Prot. & Advocacy v. Stewart,

  563 U.S. 247, 254 (2011) (applying Ex Parte Young to a claim brought by one independent state

  agency against a state commissioner and explaining that “because an unconstitutional legislative

  enactment is ‘void,’ a state official who enforces that law ‘comes into conflict with the superior

  authority of [the] Constitution,’ and therefore is ‘stripped of his official or representative character

  and is subjected in his person to the consequences of his individual conduct. The State has no power

  to impart to him any immunity from responsibility to the supreme authority of the United States.’”).

Page 16 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                              BARRAN LIEBMAN LLP
                                             601 SW SECOND AVENUE, SUITE 2300
                                                  PORTLAND, OR 97204-3159
                                            PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ        Document 23                 Filed 08/26/22   Page 25 of 52




            Defendants’ challenge to Counts Three through Six of the First Claim for Relief is premised

  upon an erroneous assertion that each count implicates state law exclusively when instead the claims

  impinge on federal authority and undermine federal programs. Counts Three through Six incorporate

  by reference paragraphs 1-81 and 83-120 which contain allegations of a nationwide shortage of

  nursing professionals and implicate federal concerns, that Plaintiff hospitals are recipients of federal

  funding and must comply with federal standards including Medicare, as well as certain federal tax

  laws. (FAC ¶¶ 34, 125-26, 128-34, 141.) These are non-trivial and plausible allegations implicating

  federal law and they support the claims asserted here. Twombly, 550 U.S. at 563.

            Count Three raises issues of rulemaking, which includes the obligations of a state to stay out

  of federal territory. See ORS 183.390 (citing that state law requires of rulemaking consideration of

  whether a rule or proposal overlaps, duplicates, or conflicts not only with other state rules but also

  with federal regulation.); see also (FAC ¶ 147.) (stating the same). In support of Plaintiffs’ petition

  for a change to the BOLI meal rules, Plaintiffs alleged that the rule conflicts with nursing standards

  and changes in healthcare which require much greater flexibility of timing of breaks. (FAC ¶ 148.)

  Defendants’ failure to follow rulemaking requirements included a failure to consider conflicts with

  federal regulation and nursing standards, including those nursing standards imposed by federal rules

  and regulations. Defendants’ Motion to Dismiss Count Three must be denied.

            Count Four addresses the mandate to the Agency that it regulate only what is “necessary”

  and alleges that in disregarding its mandate, it placed itself in conflict with federal laws governing

  healthcare, public healthcare emergency rules, and work done under federal funding of nonprofit

  hospitals. (ORS 183.390; FAC ¶¶ 128-34, 157.)

            Count Five points to the federal laws that regulate hospital activities and personnel, again

  including federal programs such as Medicare and Medicaid which have been discussed above. Staff

  may not engage in inappropriate “conduct related to other federal or state statute or rule violations,”

  and Plaintiff hospitals allege that the state rules put them in peril. (FAC ¶ 164.)



Page 17 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                              BARRAN LIEBMAN LLP
                                             601 SW SECOND AVENUE, SUITE 2300
                                                  PORTLAND, OR 97204-3159
                                            PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ          Document 23                Filed 08/26/22   Page 26 of 52




            Count Six turns a blind eye to critical public health emergencies facing the nation (such as

  are exemplified by the pandemic), and include a longstanding nationwide shortage of healthcare

  professionals which have constrained Plaintiff hospitals from hiring the non-existent additional

  trained staff, at great expense, to obtain the network of coverage required before it can meet the

  Meal Timing Rule, all the while putting itself in conflict with federal healthcare provider

  requirements. (FAC ¶ 175.) Healthcare providers must remain conscious of such key federal laws

  such as the Public Health Service Act (which was recently used by the Secretary of Health and

  Human Services of the U.S. Department of Health and Human Services to declare a public health

  emergency (PHE) in the entire United States on January 31, 2020, effective January 27, 2020). The

  PHE was renewed on April 21, 2020, July 23, 2020, October 2, 2020, January 7, 2021, April 15,

  2021, July 19, 2021, October 15, 2021, January 7, 2022, April 12, 2022 effective April 16, 2022,

  and July 15, 2022. BOLI’s Meal Timing Rule, which so burdens staffing in its hospitals, does not

  allow room for the full deployment of federal public health emergency legislation.

                   III. PLAINTIFF’S SECOND CLAIM FOR RELIEF (42 USC § 1983)

  A.        Plaintiff hospitals’ Second Claim for Relief, Count One, properly alleges violations of
            the First Amendment and Defendants’ Motion to Dismiss should be denied

            Plaintiffs’ Second Claim for Relief alleges violations of 42 U.S.C. § 1983 arising out of

  collective staff efforts to obtain relief from the Meal Timing Rule. (FAC ¶ 196 et seq.) It is a claim

  that may properly be asserted by Plaintiff hospitals because the conduct was directed at Plaintiffs

  through their employees on a matter of common interest and for which the employees were proxies.

  The First Amendment is at the heart of this claim and it implicates rights to petition the government

  as well as the expression of protected viewpoints.

            1.         Plaintiff hospitals have standing based on a common interest with their
                       employees

            Defendants first challenge Plaintiffs’ standing, but they cannot avoid this claim with that

  argument. (Motion, pp. 31-33.) See Viceroy Gold Corp. v. Aubry, 75 F.3d 482 (9th Cir. 1996)

  (employer had standing based upon common interest with its employees). Here, Plaintiffs allege

Page 18 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                               BARRAN LIEBMAN LLP
                                              601 SW SECOND AVENUE, SUITE 2300
                                                   PORTLAND, OR 97204-3159
                                             PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ           Document 23                Filed 08/26/22   Page 27 of 52




  facts showing a common interest arising out of the employment relationship as to working

  conditions and restrictive rules that adversely affect their work and cause concerns that the rigidity

  of the rule will affect their ability to perform duties including duties important to maintain licensure.

            2.         Plaintiffs have standing to assert their employees’ rights 4

            There is little risk of unnecessary litigation of third-party rights. (FAC ¶ 186.) (Ibid.)

  Although the nurses are not named Plaintiffs in this case, the employees sought, as a group, to

  petition for redress of the grievances. (FAC ¶ 186.) If Plaintiffs succeed in asserting this claim on

  behalf of its employees, its employees’ rights will be vindicated. (FAC ¶ 186.) The employees’

  enjoyment of their rights is inextricably bound up with Plaintiffs’ course of action. (FAC ¶ 186.)

  The nature of the relationship between Plaintiffs and its employees supports Plaintiffs’ ability to

  adequately represent its employees’ interests. (FAC ¶ 186.) Plaintiffs can be an effective proponent

  of their employees. (FAC ¶ 186.) One interest common to Plaintiffs and their employees is their

  mutual desire not to have the state dictate the collective bargaining status of employees. (FAC

  ¶ 186.) Because Plaintiffs’ interest is sufficiently aligned with its employees on this issue, Plaintiffs

  are an effective advocate of its employees’ rights. (FAC ¶ 186.) (Ibid.) And see NAACP v. Ala. ex

  rel. Patterson, 357 U.S. 449, 459 (1958) (“[C]onstitutional rights of persons who are not

  immediately before the Court could not be effectively vindicated except through an appropriate

  representative before the Court.”).
            3.         A credible threat is sufficient injury

            That the penalties have not yet been assessed seeking the claimed millions of dollars in

  penalties is not a relevant consideration. Valle Del Sol Inc. v. Whiting, 732 F.3d 1006, 1015 (9th

  Cir. 2013) (“[A]lthough a plaintiff ‘must demonstrate a realistic danger of sustaining a direct injury

  as a result of a statute’s operation or enforcement,’ a plaintiff ‘does not have to await the



  4
   See Seth F. Kreimer, Censorship by Proxy: The First Amendment, Internet Intermediaries, and the
  Problem of the Weakest Link, 155 U. PA. L. REV. 11 (2006).

Page 19 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                                BARRAN LIEBMAN LLP
                                               601 SW SECOND AVENUE, SUITE 2300
                                                    PORTLAND, OR 97204-3159
                                              PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ          Document 23                 Filed 08/26/22   Page 28 of 52




  consummation of threatened injury to obtain preventive relief.’”) A “credible threat” of enforcement

  is sufficient for standing. Ctr. For Democracy & Tech. v. Pappert, 337 F. Supp. 2d 606, 648 (E.D.

  Pa. 2004).

            4.         Diversion of resources is an injury

            An organization may also establish “injury in fact if it can demonstrate: (1) frustration of its

  organizational mission; and (2) diversion of its resources to combat the particular [conduct] in

  question.” Smith v. Pac. Props. & Dev. Corp., 358 F.3d 1097, 1105 (9th Cir. 2004), cited with

  approval in Am. Diabetes Ass'n v. United States Dep't of the Army, 938 F.3d 1147, 1154 (9th Cir.

  2019).

            Plaintiffs have been injured under these standards. Legacy and its employees have been

  unable to meet the rigid standards of the rule, leading to costly enforcement proceedings presently,

  in the past, and threatened in the future. (FAC ¶ 120.) Plaintiffs wish to avoid being subjected to

  notices of intent to assess penalties of millions of dollars, avoid incurring threats of further

  investigations, audits, and notices of future NOIs. (FAC ¶ 119.) Plaintiffs are now defending

  themselves in four separate contested case proceedings, taking up time and resources (money as

  well as people) that are necessary for the accomplishment of their public mission. Legacy also is

  suffering injury because it has unhappy employees who are presented with a dilemma of fulfilling

  their duties as nurses, declining to abandon patients, while at the same time being told that they must
  take meal breaks during a narrow period of time. Finally, the Legacy Plaintiffs have been placed at

  a competitive disadvantage because of their and their employees’ viewpoint supporting and

  maintaining their nonunion status.

            Here, Plaintiffs’ interests were harmed when the Deputy Commissioner, acting on behalf of

  the Commissioner Val Hoyle and the Agency, acted intentionally to violate the employees’ First

  Amendment rights. If the Deputy Commissioner was not required to take the meeting, that is of no

  importance. Having elected to do so, he was required to carry out his responsibilities in a neutral

  manner unaffected by his personal viewpoint or that of petitioners.

Page 20 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                                BARRAN LIEBMAN LLP
                                               601 SW SECOND AVENUE, SUITE 2300
                                                    PORTLAND, OR 97204-3159
                                              PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ           Document 23                Filed 08/26/22   Page 29 of 52




            5.         Interference by state actors against individuals exercising their right to
                       petition for a grievance is actionable under Section 1983

            The federal and state constitutions promise the protection of the right to petition the

  government for redress of grievances. (FAC ¶ 187.) This protection is stated in the First

  Amendment, applicable to the states under the Fourteenth Amendment, and is repeated in Oregon’s

  Constitution. (FAC ¶ 187.) While the government is free to disregard petitions, it is not free to

  respond to such petitions by deliberately providing false or misleading information, as did BOLI

  Deputy Commissioner Shepard. (FAC ¶ 187.) The right of access to the courts is subsumed under

  the First Amendment right to petition the government for redress of grievances. (FAC ¶ 188.)

  Deliberate interference or retaliation by state actors against an individual or a group of individuals

  seeking to exercise the right to petition for grievances is actionable under Section 1983. (FAC

  ¶ 189.) The intentional obstruction of the right to redress is “precisely the sort of oppression that

  * * * Section 1983 is intended to remedy.” (FAC ¶ 189.)

            6.         Plaintiffs have alleged sufficiently detailed facts to support their claim for
                       relief for interference against individuals exercising their right to petition

            Defendants in their Motion assert that the complaint contains vague conclusory allegations

  that Defendant Shepard acted to restrain or coerce the nurses in the exercise of their rights and that

  Legacy alleges “no facts that even suggest that any coercion occurred.” (Motion, p. 31). To the

  contrary however, Plaintiffs’ complaint contains detailed allegations setting forth facts supporting

  their § 1983 claim.

            A group of Plaintiffs’ nurses wished to bring to the attention of BOLI that the Agency rules

  regarding timing of meal periods raised issues of private and public concern. (FAC ¶ 64.) As a

  consequence, the nurses petitioned and sought information to assist them in changing working

  conditions that they saw as contrary to their ability to do their job as required by their nursing

  licenses. (FAC ¶ 63.) The nurses first requested a meeting with Commissioner Val Hoyle, but she

  declined to take the meeting and directed the group of nurses to meet with Deputy Commissioner

  Duke Shepard. (FAC ¶ 60.) The employees approached the Commissioner and Deputy

Page 21 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                                BARRAN LIEBMAN LLP
                                               601 SW SECOND AVENUE, SUITE 2300
                                                    PORTLAND, OR 97204-3159
                                              PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ         Document 23                 Filed 08/26/22   Page 30 of 52




  Commissioner in order to seek information regarding how to change the rules regarding the timing

  of meals and were engaged in collective activity seeking to discuss an onerous working condition

  with a representative of the state government acting under the color of state law. (FAC ¶ 61.)

            The Deputy Commissioner used his position of authority and public trust to restrain, coerce,

  and interfere with the free choice of private sector employees by providing inaccurate and

  incomplete information that caused the nurses to understand that the only remedy for their concerns

  was to join a union. (FAC ¶ 63.) The conduct of Deputy Commissioner Shepard was in violation of

  § 1983 and was directed against individuals exercising their rights under federal law. (FAC ¶ 67.)

            7.         Defendants’ conduct discriminates on the basis of viewpoint and consequently
                       violates the First Amendment

            Courts routinely recognize the First Amendment right to petition the government for redress

  of grievances. See O’Keefe v. Van Boening, 82 F.3d 322, 325 (9th Cir. 1996) (recognizing

  constitutional right to petition the government for redress of their grievances); see also Bill

  Johnson’s Rests., Inc. v. NLRB, 461 U.S. 731, 741 (1983) (“[T]he right of access to the courts is an

  aspect of the First Amendment right to petition the Government for redress of grievances.”); Bradley

  v. Hall, 64 F.3d 1276, 1279 (9th Cir. 1995), overruled on other grounds by Shaw v. Murphy, 532

  U.S. 223, 230, n. 2 (2001); Tarabochia v. Hill, 140 Fed. Appx. 753, 754 (9th Cir. 2005). The

  Supreme Court’s precedents confirm that individuals have the constitutional right “to appeal to
  courts and other forums established by the government for resolution of legal disputes,” noting that

  “[t]he right to petition allows citizens to express their ideas, hopes, and concerns to their government

  and their elected representatives,” and is “generally concerned with expression directed to the

  government seeking redress of a grievance.” Borough of Duryea v. Guarnieri, 564 U.S. 379, 388

  (2011). Regardless of whether the First Amendment guarantees a general right of access to

  government information, the First Amendment nevertheless constrains a government discretion to

  disclose, selectively, government-controlled information, namely, by forbidding the government

  from discriminating among viewpoints in the provision of information. “The First Amendment


Page 22 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                               BARRAN LIEBMAN LLP
                                              601 SW SECOND AVENUE, SUITE 2300
                                                   PORTLAND, OR 97204-3159
                                             PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ         Document 23                Filed 08/26/22   Page 31 of 52




  forbids the government to regulate speech in ways that favor some viewpoints or ideas at the expense

  of others.” Matal v. Tam, 137 S. Ct. 1744, 1750, 1757 (2017) (explaining that “the test for viewpoint

  discrimination is whether—within the relevant subject category—the government has singled out a

  subset of messages for disfavor based on the views expressed.”) (quoting Lamb’s Chapel v. Ctr.

  Moriches Union Free Sch. Dist., 508 U.S. 384, 394 (1993)).

            In Boardman v. Inslee, 978 F.3d 1092, 1119 (9th Cir. 2020) the court held that a ballot

  measure did not violate the First Amendment as it did not impose viewpoint-based conditions on

  the disclosure of information and did not discriminate between competing views. The court noted

  that in Houchins v. KQED, Inc., 438 U.S. 1, 15 (1978) the court stated the well-settled principle that

  the First Amendment does not guarantee a general right to access to government information or

  sources of information within the government’s control. The court discussed in part:

            Before we address the merits of this claim, we must consider the State’s threshold
            argument “that laws restricting public access to records do not implicate the First
            Amendment.” On this score, the State argues that the disclosure of government-
            controlled information is “wholly within the legislative power,” such that the decision
            to restrict access to Provider Information is beyond First Amendment scrutiny. . . .
                                                   *****
            After review of the relevant precedent, we disagree with the State. Houchins does not
            control here. . . . [I]t is a separate question—and one that is not addressed in
            Houchins—whether the government may transgress the First Amendment by
            imposing viewpoint-based conditions on access to government-controlled
            information or by otherwise discriminating among viewpoints in the provision of
            information within its control. This is the gravamen of Appellants’ claim, and
            Houchins does not resolve it.

  Boardman, 978 F.3d at 1104-05. The facts asserted in Plaintiffs’ lawsuit assert that BOLI, acting

  through Deputy Commissioner Shepard, withheld information about options available to a collective

  group of nonunion nurses seeking to secure information about revising the Meal Timing Rule,

  seeking the benefits available to their union counterparts. These events present cognizable claims

  of First Amendment and viewpoint discrimination.




Page 23 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                              BARRAN LIEBMAN LLP
                                             601 SW SECOND AVENUE, SUITE 2300
                                                  PORTLAND, OR 97204-3159
                                            PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ          Document 23                Filed 08/26/22   Page 32 of 52




            8.         Defendants cannot escape responsibility on the theory that there was only one
                       meeting

            Defendants ask the court to dismiss the claim because it had only one such meeting, in the

  past, and other meetings are not “certainly impending.” (Motion, p. 33.) That argument is

  insufficient. Plaintiffs assert a course of conduct leading to the meeting,               an encounter which

  involved collective activity seeking to address an onerous working condition and was preceded by

  the Commissioner’s refusal to meet and which was followed by a rejection of proposed regulations.

  (FAC ¶ 60.) It occurred in connection with the Agency’s prosecutorial misconduct with this same

  group of employees, misrepresenting the nature of a subpoena issued by the Agency. (FAC ¶¶ 44,

  61-63.); Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 967 (9th Cir. 2018) (stating that past

  wrongs, though insufficient by themselves to grant standing, are “evidence bearing on whether there

  is a real and immediate threat of repeated injury.”)

            Similar to the decisions evaluating claimed mootness, this is a situation which would

  otherwise be “capable of repetition, yet evading review[,]” Spencer v. Kemna, 523 U.S. 1, 17

  (1988), which is applicable where the challenged action is short in duration but “‘there [is] a

  reasonable expectation that the same complaining party [will] be subject to the same action again.’”

  Kingdomware Techs, Inc v. United States, 579 U.S. 162, 170 (2016) (internal quotation marks

  omitted; brackets in original); see also California v. U.S. HHS, 941 F.3d 410, 423 (9th Cir. 2019).
            The attachment to the Declaration of Deputy Commissioner Shepard to Defendants’ Motion

  to Dismiss made it clear that the employees were going to continue to press for a change. (Motion,

  pp. 28, 33; Shepard Decl. attached to Motion, ¶¶ 2-3.) There was a reasonable expectation that the

  same complaining parties (the nurses) would pursue their concerns in the future and be subject to

  the same action again (misleading information that the only recourse available to the nurses was to

  join a union).




Page 24 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                               BARRAN LIEBMAN LLP
                                              601 SW SECOND AVENUE, SUITE 2300
                                                   PORTLAND, OR 97204-3159
                                             PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ         Document 23                 Filed 08/26/22   Page 33 of 52




            9.         Defendants’ Motion to Dismiss improperly relies upon factual allegations that
                       are outside the pleadings and record

            In their Motion to Dismiss, Defendants improperly rely upon factual allegations contained

  in a Declaration of Duke Shepard and factual allegations contained in the text of Defendants’ Motion

  to Dismiss. Specifically, Duke Shepard in his declaration asserts:

            2. On February 26, 2019, I met with a group of nurses who worked for Legacy
            Health. At the meeting, we discussed BOLI’s meal-and-rest period rule (OAR 839-
            020-0050).
            3. On March 8, 2019, I received an email from Allison Filipovic, who was one of
            the nurses with whom I met on February 26, 2019. That email is attached as
            Exhibit 1 to this declaration.

  In his declaration Shepard makes the factual assertion that when he met with a group of nurses on

  February 26, 2019 “we discussed BOLI’s meal-and-rest period rule.” (Motion, p. 33; Shepard Decl.,

  ¶ 2.) Defendants in their Motion to Dismiss make the factual assertion that during the meeting,

  “Shepard did not violate the nurses’ First Amendment rights by accurately explaining the effects of

  current law.” (Motion, p. 28.) Defendants’ argumentative presentation of evidence outside the record

  cannot support a motion to dismiss which is limited to a review of the complaint. Lee v. City of Los

  Angeles, 250 F.3d 668, 688 (9th Cir. 2001) (“[W]hen the legal sufficiency of a complaint’s

  allegations is tested by a motion under Rule 12(b)(6), ‘review is limited to the complaint.’”) (quoting
  Cervantes v. City of San Diego, 5 F.3d 1273, 1274 (9th Cir. 1993); see also Marder v. Lopez, 450
  F.3d 445, 448 (9th Cir. 2006); Warren v. Fox Family Worldwide, Inc., 328 F.3d 1136, 1141 n. 5 (9th

  Cir. 2003). In deciding a motion to dismiss, “a district court may not consider any material beyond

  the pleadings[.]” Lee, 250 F.3d at 688 (quoting Branch v. Tunnell, 14 F.3d 449, 453 (9th Cir. 1994)).

            The court should, at a minimum, disregard Defendants’ assertion that the Deputy

  Commissioner was “accurate” in his conversation and should deny Defendants’ Motion to Dismiss

  Count One of the Second Claim for Relief.




Page 25 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                               BARRAN LIEBMAN LLP
                                              601 SW SECOND AVENUE, SUITE 2300
                                                   PORTLAND, OR 97204-3159
                                             PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ          Document 23                Filed 08/26/22   Page 34 of 52




  B.        Defendants’ Motion to Dismiss Count Two of the Second Claim for Relief alleging
            violation of the excessive fines clause incorporated by the due process clause should
            be denied

            The excessive fines clause is an incorporated protection applicable to the states under the

  Fourteenth Amendment due process clause and the penalties asserted in the NOIs on their face

  present strong evidence of such a violation.

            In February 2019, in Timbs v. Indiana, 139 S. Ct. 682, 689 (2019), the Supreme Court held

  9-0 that the excessive fines clause is incorporated protection applicable to the states under the

  Fourteenth Amendment’s due process clause and called out specifically those circumstances in

  which fines are used as a source of revenue, as they are alleged to be here (FAC ¶¶ 54-58). The

  Court stated in part:

            The 17th century Stuart kings, in particular, were criticized for using large fines to
            raise revenue, harass their political foes, and indefinitely detain those unable to pay.
            ...
                                                    *****
            For good reason, the protection against excessive fines has been a constant shield
            throughout Anglo-American history: exorbitant tolls undermine other constitutional
            liberties. Excessive fines can be used, for example, to retaliate against or chill the
            speech of political enemies . . . Even absent a political motive, fines may be employed
            “in a measure out of accord with the penal goals of retribution and deterrence,” for
            “fines are a source of revenue,” while other forms of punishment “cost a State
            money.”

  Timbs, 139 S. Ct. at 688-89.

            1.         Standard: A fine is unconstitutionally excessive if the amount is grossly
                       disproportional to the gravity of the offense, as Defendants’ proposed fines are

            In United States v. Bajakajian, 524 U.S. 321, 337-40, 339 n. 14 (1998), the court articulated

  the following factors to be considered in determining whether a forfeiture was grossly

  disproportional to the offense: (1) the seriousness of the offense triggering forfeiture; (2) whether

  the property was related to any other illegal activity; (3) whether the defendant fit into the class of

  persons for whom the statute was principally designed; (4) the maximum sentence and fine that

  could have been imposed for the offense under then-mandatory United States sentencing guidelines;

  (5) the statutory maximum sentence and fine; and (6) the harm caused by the underlying offense.


Page 26 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                               BARRAN LIEBMAN LLP
                                              601 SW SECOND AVENUE, SUITE 2300
                                                   PORTLAND, OR 97204-3159
                                             PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ          Document 23                Filed 08/26/22   Page 35 of 52




            2.         BOLI’s assessment of fines against Plaintiffs was excessive

            The fines imposed, and sought to be imposed, by BOLI are grossly disproportional to the

  alleged mealtime violations and have been used to retaliate against the Legacy Plaintiffs and their

  employees and to chill free speech for political motives. Employees of Plaintiff hospitals work

  12-hour shifts and a majority of the alleged violations assert that employees failed to take their meal

  break in the two-hour window of time after the completion of the third hour worked and prior to the

  commencement of the sixth hour worked. (FAC ¶ 25.) Most of the violations alleged that the nurses

  and other employees took late meal breaks because forcing them to take a meal break in

  mid-morning was either unhealthy for them, inconvenient for them, or led to physical discomfort

  and hunger during the remaining eight hours, and deprived them of the right to take a meal break

  midway in their 12-hour shift. (FAC ¶ 26.)

            On April 16, 2019, BOLI served three Legacy hospitals with notices of intent to assess

  penalties (NOIs) for 5,156 violations. (FAC ¶ 42.) BOLI sought the maximum $1,000 penalty for

  each of these violations or a total penalty of $5,156,000. (FAC ¶ 42.) BOLI issued a press release

  touting the fact that the penalty sought was the largest ever asserted against an employer in Oregon.

  (FAC ¶ 81.) In addition, it is believed that BOLI has used the fines it has collected as a source of

  revenue. (FAC 56-59.) When the Agency’s former administrative prosecutor engaged in

  prosecutorial misconduct by serving illegal subpoenas, the Legacy hospitals filed a motion to

  dismiss the cases based upon that prosecutorial misconduct. (FAC ¶¶ 44 and 45.) BOLI sought to

  avoid the consequences of the motion to dismiss by a procedural tactic of withdrawing the NOIs

  without prejudice. However, subsequently in order to punish and retaliate against the Plaintiffs,

  BOLI on December 21, 2021 served new NOIs seeking to join an additional Legacy hospital and

  seeking penalties totaling $8,727,000, which was approximately $3.5 million more than the

  penalties previously sought by BOLI. (FAC ¶ 48.) BOLI’s Commissioner, in seeking $1,000

  penalties for each separate violation failed to take into consideration mitigating circumstances.

  BOLI, in focusing primarily upon departments such as Emergency Departments and the Family

Page 27 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                               BARRAN LIEBMAN LLP
                                              601 SW SECOND AVENUE, SUITE 2300
                                                   PORTLAND, OR 97204-3159
                                             PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ          Document 23                Filed 08/26/22   Page 36 of 52




  Birthing Department, which are departments that are staffed with nurses having specialized

  expertise and whose departments are often faced with special challenges that require immediate and

  uninterrupted attention of nurses or teams of nurses, BOLI unfairly targeted departments where

  challenges that would make strict compliance with the Meal Timing Rules extremely difficult, if not

  impossible. (FAC ¶¶ 38-40.)

            Plaintiffs’ allegations, if taken as true, demonstrate that the multi-million dollar fines that

  BOLI seeks to impose are unconstitutionally excessive and grossly disproportional to the gravity of

  the mealtime violations. Each listed violation is assessed the maximum penalty amount, $1,000,

  regardless of the gravity of the offense. For example, a meal taken after the sixth hour bears the

  same penalty as providing no meal period at all. 5 The same $1,000 penalty is assessed for a meal

  period that started two minutes late as is assessed for a meal period that started more than four hours

  late. The same penalty is assessed for a meal period that started before the end of the sixth hour but

  ran over. The same penalty is assessed for a meal period that started on time but showed the

  employee clocking back in after 29 minutes instead of after 30 minutes. The same penalty is assessed

  for a meal period that lasted a full 30 minutes but started early.

            3.         The court should reject Defendants’ argument that this claim is not ripe

            Defendants assert that Plaintiffs’ Eighth Amendment excessive fines claim is not ripe for

  determination because the violations and penalty issues have not been heard by the Administrative
  Law Judge who has not made recommendations regarding how many violations occurred and the

  penalties that should be imposed regarding those violations. (Motion, p. 24.) Defendants assert that

  only after the proposed order is issued will the Commissioner consider a final order in which the

  Commissioner may alter the Administrative Law Judge decision, including violations and civil


  5
    OAR 839-020-0050 provides: “Timing of the meal period: If the work period is seven hours or
  less, the meal period is to be taken after the conclusion of the second hour worked and completed
  prior to the commencement of the fifth hour worked. If the work period is more than seven hours,
  the meal period is to be taken after the conclusion of the third hour worked and completed prior to
  the commencement of the sixth hour worked.”

Page 28 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                               BARRAN LIEBMAN LLP
                                              601 SW SECOND AVENUE, SUITE 2300
                                                   PORTLAND, OR 97204-3159
                                             PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ        Document 23                 Filed 08/26/22   Page 37 of 52




  penalties, and that without knowing the final determinations as to violations and penalties, the claim

  is unripe. (Motion, pp. 24-25, 27-28.)

            BOLI’s formal Notice of Intent to Assess Penalties (NOI) states that except for good cause,

  the factual determinations not denied are deemed admitted, failure to raise an affirmative defense is

  a waiver of such defense, any affirmative defense alleged in the answer is deemed denied, and

  evidence will not be taken unless raised in the answer. Failure to request a hearing within 20 days

  of the date of mailing the NOI (in this case in the middle of a pandemic) results in a waiver of the

  right to request a hearing. The request for a hearing must include a detailed answer. The evidence

  will show that the Agency did everything it could to nudge Plaintiffs into a default. It mailed the

  four notices on December 21, 2021 with emailed courtesy copies to counsel sent at 6:39 PM. Each

  formal notice (approximately 15 pages) was accompanied by one or more spreadsheets, in all

  totaling many hundreds of pages.

            In addition to Defendants’ litigation tactics, the structure of the Agency decision making

  process reinforces the likelihood that the penalties are intended to be a foregone conclusion. In

  Klein v. Or. Bureau of Labor & Indus., 317 Or. App. 138, 162 (2022) the court criticized the Bureau

  of Labor’s administrative process for having departed from principles of neutrality. The court stated:

  “the BOLI prosecutor acts on behalf of BOLI, which is under the control of the commissioner,

  absent a disavowal by the commissioner of a prosecutor’s position in the context of deciding a
  contested case, it is inferable that the prosecutor’s position is the position of the agency, including

  its commissioner. Our initial decision in this case underscores that lack of independence.” Id. The

  same Commissioner is a Defendant in this case and is the person who was responsible for the initial

  proceedings in 2019, the misleading discussions with employees, and the handling of the 2021

  filings. (FAC ¶¶ 7, 53, 60-62, 71-73, 81.)

            Ripeness, like standing, presents the threshold jurisdictional question of whether a court may

  consider the merits of a dispute. Elend v. Basham, 471 F.3d 1199, 1204 (11th Cir. 2006). The

  ripeness doctrine exists “to prevent the courts, through premature adjudication, from entangling

Page 29 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                              BARRAN LIEBMAN LLP
                                             601 SW SECOND AVENUE, SUITE 2300
                                                  PORTLAND, OR 97204-3159
                                            PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ         Document 23                Filed 08/26/22   Page 38 of 52




  themselves in abstract disagreements.” Thomas v. Union Carbide Agric. Prods. Co., 473 U.S. 568,

  580 (1985). Application of this doctrine “requires that the court exercise its discretion to determine

  if judicial resolution would be desirable under all of the circumstances.” Brown v. Ferro Corp., 763

  F.2d 798, 801 (6th Cir. 1985). Of primary importance is “whether the issues tendered are appropriate

  for judicial resolution,” and, if so, the degree of “hardship to the parties if judicial relief is denied”

  before the claim is allowed to ripen further. Young v. Klutznick, 652 F.2d 617, 625 (6th Cir. 1981)

  (quoting Toilet Goods Ass’n v. Gardner, 387 U.S. 158, 162 (1967)).

            In Skyline Wesleyan Church v. Cal. Dep’t of Managed Health Care, 959 F.3d 341, 349 (9th

  Cir. 2020) the Ninth Circuit discussed:

            “Ripeness doctrine ‘is designed to prevent the courts, through avoidance of premature
            adjudication, from entangling themselves in abstract disagreements over
            administrative policies, and also to protect . . . agencies from judicial interference
            until an administrative decision has been formalized and its effects felt in a concrete
            way by the challenging parties.’” Safer Chems. v. United States EPA, 943 F.3d 397,
            411 (9th Cir. 2019) (alteration in original) (quoting Ohio Forestry Ass’n v. Sierra
            Club, 523 U.S. 726, 732-33, 118 S. Ct. 1665, 140 L. Ed. 2d 921 (1998)). Determining
            whether a claim is ripe often requires assessing both constitutional requirements and
            prudential factors. See, e.g., Thomas, 220 F.3d at 1138.

            In evaluating ripeness, Courts have looked at whether a party is likely to suffer hardship or

  exhaustion is futile, or the alleged injury is capable of repetition, yet evading review.

            In Shalala v. Ill. Council on Long Term Care, 529 U.S. 1, 13 (2000) the United States

  Supreme Court observed:

            Doctrines of “ripeness” and “exhaustion” contain exceptions, however, which
            exceptions permit early review when, for example, the legal question is “fit” for
            resolution and delay means hardship, see Abbott Laboratories, 387 U.S. at 148-149,
            or when exhaustion would prove “futile,” see McCarthy v. Madigan, 503 U.S. 140,
            147-148, 117 L. Ed. 2d 291, 112 S. Ct. 1081 (1992); McKart, 395 U.S. at 197-201.

  In Shalala, the court affirmed the trial court’s dismissal of a nursing home association’s action

  challenging certain Medicare-related regulations, finding that the plaintiff could proceed through

  the special review channel created by the Medicare statutes. 529 U.S. at 5.

            In Skyline Wesleyan Church, 959 F.3d at 354, the Ninth Circuit further stated:



Page 30 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                              BARRAN LIEBMAN LLP
                                             601 SW SECOND AVENUE, SUITE 2300
                                                  PORTLAND, OR 97204-3159
                                            PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ          Document 23                Filed 08/26/22   Page 39 of 52




            “In evaluating the prudential aspects of ripeness, our analysis is guided by two
            overarching considerations: ‘the fitness of the issues for judicial decision and the
            hardship to the parties of withholding court consideration.’” Thomas, 220 F.3d at
            1141 (quoting Abbott Labs. v. Gardner, 387 U.S. 136, 149, 87 S. Ct. 1507, 18 L. Ed.
            2d 681 (1967), abrogated on other grounds by Califano v. Sanders, 430 U.S. 99, 97
            S. Ct. 980, 51 L. Ed. 2d 192 (1977)).
            As to the first prudential ripeness prong, “[a] claim is fit for decision if the issues
            raised are primarily legal, do not require further factual development, and the
            challenged action is final.”

            In Biafora v. United States, 773 F.3d 1326 (Fed. Cir. 2014) the court considered a regulatory

  taking claim and stated that generally taking claims do not ripen until a government entity charged

  with implementing the regulations has reached a final decision regarding the application of the

  regulations to the property at issue. The court discussed exceptions, stating:

            A plaintiff, however, can be excused from exhausting administrative remedies when
            it would be futile to do so, such as when the administrative agency has no discretion
            to grant the requested relief or the parties agree on how the challenged regulation
            would apply. Suitum v. Tahoe Reg'l Planning Agency, 520 U.S. 725, 738-39, 117 S.
            Ct. 1659, 137 L. Ed. 2d 980 (1997). We have held that the futility exception applies
            where “no uncertainty remains regarding the impact of the regulation, certainty being
            the basis for the ripeness requirement.” Greenbrier v. United States, 193 F.3d 1348,
            1359 (Fed. Cir. 1999) (internal citations omitted).

  Biafora, 773 F.3d at 1330.

            In Green Party of Tenn. v. Hargett, 767 F.3d 533 (6th Cir. 2014) the court discussed:

            Although the defendants challenge only the plaintiffs’ standing, other concepts of
            justiciability help to illustrate why the plaintiffs have suffered a cognizable injury.
            See 13B Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure §
            3531.12 (3d ed. 1998) (observing that “[r]ipeness and mootness easily could be seen
            as the time dimensions of standing”). As the plaintiffs aptly argue, their alleged injury
            is not moot because it is “capable of repetition, yet evading review.” See Libertarian
            Party of Mich. v. Johnson, 714 F.3d 929, 930 (6th Cir. 2013); Libertarian Party of
            Ohio v. Blackwell (Blackwell), 462 F.3d 579, 585 (6th Cir. 2006). Similarly, the
            plaintiffs’ claim is not unripe, as it “arises in a concrete factual context and concerns
            a dispute that is likely to come to pass.” Warshak v. United States, 532 F.3d 521, 525
            (6th Cir. 2008) (en banc) (internal quotation marks omitted). Moreover, the plaintiffs
            would likely suffer hardship if they must wait to adjudicate this claim. Id. If this court
            were to hold that the plaintiffs can challenge the ballot-ordering statute only after
            qualifying for ballot access, a court hearing the new case would likely have at most
            90 days to consider it.

            Green Party, 767 F.3d at 545, n. 1. Plaintiffs’ excessive fines claims fall within these

  exceptions to ripeness doctrine. In the Legacy case, the NOIs dated December 21, 2021 alleged


Page 31 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                               BARRAN LIEBMAN LLP
                                              601 SW SECOND AVENUE, SUITE 2300
                                                   PORTLAND, OR 97204-3159
                                             PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ       Document 23                 Filed 08/26/22   Page 40 of 52




  8,722 violations and sought civil penalties of $8,727,000. (FAC ¶ 48.) After Plaintiffs filed their

  lawsuit on April 18, 2022, BOLI served Notices of Hearings in the contested case proceedings in

  Case Nos. 58-20, 59-20, 60-20, and 61-20 on April 29, 2022, alleging the same number of violations

  and the same penalties. Based upon Defendants’ course of conduct described throughout Plaintiffs’

  First Amended Complaint and summarized above, it is reasonable for the court to assume that the

  BOLI Commissioner, on behalf of the Agency, will enforce the penalties as written by Agency

  personnel under her direction.

  C.        Defendants’ Motion to Dismiss Count Three of the Second Claim for Relief alleging
            violation of equal protection rights should be denied

            Where equal protection claims are concerned, an initial issue is whether there has been

  different treatment of those who are similarly situated. The state argues that Plaintiff hospitals

  cannot make such a showing because their employees are inevitably dissimilar from employees of

  other employers because of their nonunion status. That assumes too much; whether that status alone

  makes the employees dissimilar is a determination that requires consideration of the facts to

  determine whether there is substantial similarity in all relevant respects. The facts are not before

  the court which cannot decide substantial similarity based on Defendants’ say-so. Willowbrook v.

  Olech, 528 U.S. 562, 564-65 (2000) is instructive. For its narrow purposes, the Supreme Court

  assumed the plaintiff was similarly situated to other landowners because they were property owners
  in the same subdivision, but when the case returned to the trial court the Northern District of Illinois

  identified the need for a more detailed factual examination to determine whether the proposed

  comparators actually were similarly situated to Mrs. Olech. Olech v. Vill. of Willowbrook, No. 97

  C 4935, 2002 U.S. Dist. LEXIS 9266, at *52, *59 (N.D. Ill. May 23, 2002) (identifying genuine

  issue of fact whether one included property was similarly situated since it was used for different

  purposes despite being in the same subdivision).

            Defendants’ argument, that a nonunion employee is inevitably dissimilar from a union

  employee, is insufficient, particularly on a motion to dismiss. Such an argument requires


Page 32 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                             BARRAN LIEBMAN LLP
                                            601 SW SECOND AVENUE, SUITE 2300
                                                 PORTLAND, OR 97204-3159
                                           PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ       Document 23                Filed 08/26/22   Page 41 of 52




  consideration of the question “dissimilar in what way,” for “one cannot determine who is similar to

  whom in the abstract without reference to an external criterion—the purpose for which the

  classification was made.” Robert C. Farrell, The Equal Protection Class of One Claim: Olech,

  Enquist, and the Supreme Court’s Misadventure, 61 S.C. LAW REV. 111 (2009). One group may be

  nonunion and the other union, but the court does not have before it any of the issues that would be

  relevant. Is there a bargaining agreement? Did the agency ever check? Were the agreements ever

  enforced? How similar are the employees in their day-to-day duties? How similar are the institutions

  in their size, scope, levels of treatment? Are they all federally funded or just some? Do they all have

  the same departments that are at issue here. A bargaining agreement necessarily has provisions, yet

  those are nowhere before the court. A bargaining agreement may be enforced or ignored, yet those

  facts are yet to be discerned. “Collective bargaining is a continuing process. Among other things, it

  involves day-to-day adjustments in the contract and other working rules, resolution of new problems

  not covered by existing agreements, and the protection of employee rights already secured by

  contract. The bargaining representative can no more unfairly discriminate in carrying out these

  functions than it can in negotiating a collective agreement. A contract may be fair and impartial on

  its face yet administered in such a way, with the active or tacit consent of the union, as to be

  flagrantly discriminatory against some members of the bargaining unit.” Conley v. Gibson, 355 U.S.

  41, 46 (1957). 6 There is nothing before the court to suggest that those unnamed entities that

  Defendants say are similarly situated are similar in material respects, have followed the rule’s

  requirements as to content, have bargained properly, or if the state has even reviewed their

  agreements.

            Defendants rely on Boardman v. Inslee, 978 F.3d 1092 (9th Cir. 2020), but that decision

  requires caution and careful reading before it can be deemed authoritative here. (Motion, p. 16.)



  6
    For the court’s consideration, Conley was abrogated on an unrelated issue by Twombly, 550 U.S.
  at 548.

Page 33 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                            BARRAN LIEBMAN LLP
                                           601 SW SECOND AVENUE, SUITE 2300
                                                PORTLAND, OR 97204-3159
                                          PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ        Document 23                Filed 08/26/22   Page 42 of 52




  This was a decision on summary judgment to challenge a ballot initiative passed by Washington

  voters where animus could not be imputed to the 2.2 million voters not shown in a well-developed

  record. 7 Yet even with that record, the Boardman court declined to resolve “this dispute,” whether

  the two classes involved (appellants and state certified unions) were similarly situated. 978 F.3d at

  1117-18. There is no extensive factual record in the very different case that is presently before this

  court.

            Count Three of Plaintiffs’ Second Claim for Relief alleges an equal protection claim. (FAC

  ¶¶ 1-81, 83-120, 211-24.) It alleges that the rules impose disparate obstacles, (FAC ¶¶ 24-28), states

  that the work done at Legacy hospitals is “virtually identical work[,]” (FAC ¶ 28), the application

  of the rules is not based upon a rational connection between the stated standards (necessity and

  preservation of health), and the presence of a union or bargaining agreement which does not meet

  the narrow scheduling window. (FAC ¶ 29). The First Amended Complaint sufficiently alleges

  animus including ¶ 81’s allegations of bad faith and selective enforcement. (FAC ¶ 81.)

            The allegations of Plaintiffs’ complaint meet the necessary standards of pleading and cannot

  be overcome by the state’s request that the court make assumptions about other facts that are or may

  be necessary for the court. In any event, the state’s argument that union status on its own is

  determinative of whether one is similarly situated is inconsistent with the analysis of the Supreme

  Court in Conley. See Sacramento Cty. Retired Emples. Ass’n v. Cty. Of Sacramento, 975 F. Supp.

  2d 1150, 1169 (E.D. Cal. 2013) (“This court thus finds Marshall to have some persuasive force, as

  long as its pronouncement, that ‘bargaining unit employees are never similarly situated with

  non-bargaining unit employees,’ is not read as a blanket statement that applies without respect

  to the facts of a given case.”) (Emphasis added). That caveat is pertinent here.

            In support of their motion to dismiss Plaintiffs’ equal protection claim, Defendants rely

  primarily upon Viceroy, 75 F.3d 482. That decision has been discussed above. As relevant for the


  7
      The dissent refers to the “highly troubling documentary record” in the case. 978 F.3d at 1135.

Page 34 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                             BARRAN LIEBMAN LLP
                                            601 SW SECOND AVENUE, SUITE 2300
                                                 PORTLAND, OR 97204-3159
                                           PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ        Document 23                 Filed 08/26/22   Page 43 of 52




  issues on this equal protection claim, among those other issues, it bears emphasis that Viceroy was

  not a motion to dismiss. The court had before it a record from cross motions for summary judgment,

  which permitted it to decide the matter in the District Court, and based its decision on its conclusion

  that the rule in question was a narrowly tailored opt-out provision, which stands in sharp contrast to

  the Oregon Bureau of Labor’s intricate, complicated, broad Meal Timing Rule which is at issue

  here. Defendants’ Motion to Dismiss Count Three of Plaintiffs’ Second Claim for Relief should be

  denied.

         IV. THE COURT SHOULD REJECT DEFENDANTS’ YOUNGER ABSTENTION
                                 ARGUMENTS

            Defendants ask for abstention. (Motion, pp. 9-14.) While typically a state proceeding would

  provide an adequate forum for the vindication of federal constitutional rights, Younger v. Harris,

  401 U.S. 37 (1971), that is not always so and the present case evidences legitimate exceptions to

  Younger’s application.

  Younger abstention is inappropriate here.

            In certain circumstances Younger’s application calls for federal courts to abstain from taking

  jurisdiction over federal constitutional claims that involve or call into question ongoing state

  proceedings. Younger, 401 U.S. at 43-44. That is an exception to the rule that “only exceptional

  circumstances justify a federal court’s refusal to decide a case in deference to the States,” and “it

  has never been suggested that Younger requires abstention in deference to a state judicial proceeding
  reviewing legislative or executive action.” New Orleans Pub. Serv., Inc. v. Council of New Orleans,

  491 U.S. 350, 368 (1989); see also Rynearson v. Ferguson, 903 F.3d 920, 928 (9th Cir. 2018)

  (“Younger abstention is a limited exception to the obligation of federal courts to hear cases within

  the scope of their jurisdiction.”). “[E]ven if Younger abstention is appropriate, federal courts do

  not invoke it if there is a ‘showing of bad faith, harassment, or some other extraordinary

  circumstance that would make abstention inappropriate.’” Arevalo v. Hennessy, 882 F.3d 763, 765-




Page 35 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                              BARRAN LIEBMAN LLP
                                             601 SW SECOND AVENUE, SUITE 2300
                                                  PORTLAND, OR 97204-3159
                                            PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ        Document 23                Filed 08/26/22   Page 44 of 52




  66 (9th Cir. 2018) (quoting Middlesex Cty. Ethics Comm. v. Garden State Bar Ass’n, 457 U.S. 423,

  435 (1982)).

            Defendants do not meet the conditions necessary to invoke Younger. It requires a showing

  that the judicial (or judicial in nature) state proceedings must be ongoing; the proceedings must

  implicate important state interests; and there must be an adequate opportunity in the state court

  proceedings to raise constitutional challenges. See Colo. River Water Conservation Dist. v. United

  States, 424 U.S. 800, 813 (1976); Grieve v. Tamerin, 269 F.3d 149, 152 (2d Cir. 2001).

            There was no “judicial or judicial in nature state proceeding” at the time Plaintiffs

  commenced their lawsuit. 8 The notices of hearing in the contested case proceedings in Case Nos.

  58-20, 59-20, 60-20, and 61-20 were not issued by the Administrative Law Judge until April 29,

  2022, eleven days after Plaintiffs had commenced their lawsuit. (Hunt Decl., ¶ 2.) 9 As a

  consequence, contested case proceedings did not commence until after Plaintiffs filed their lawsuit.

            Nor does this state proceeding afford Plaintiffs an adequate opportunity for judicial review

  of the federal constitutional claims. Ohio Civil Rights Comm’n v. Dayton Christian Schs., Inc., 477

  U.S. 619, 627 (1986). Defendants contend that Plaintiffs have raised constitutional and preemption

  arguments as defenses in the enforcement proceedings and Defendants’ administrative prosecutor

  8
    On December 21, 2021, BOLI served Notices of Intent to Assess Penalties (NOIs) on the four
  Plaintiff hospitals. (Motion, p. 5.) Each of the four hospitals filed an Answer denying the allegations
  of the NOIs. The NOIs were not “judicial or judicial in nature state proceedings.” In fact, BOLI
  admits that the issuance of NOIs seeking penalties does not establish that Plaintiff hospitals had
  committed any violations or that fines would ever be imposed. (Motion, p. 24.) It is noteworthy that
  after the NOIs were served on December 21, 2021, BOLI did nothing until after Plaintiffs filed their
  lawsuit.
  9
    The Notice of Hearing in Case No. 58-20 recited: “Pursuant to a request for hearing received on
  April 27, 2022, this contested case has been set for hearing on: Date: TUESDAY, September 13,
  2022. (Hunt Decl., Ex. 1.) The other three Notices of Hearing in Case Nos. 59-20, 60-20, and 61-
  20 recite that the notices scheduling hearings on September 20, 2022, September 27, 2022, and
  October 4, 2022, are being issued pursuant to “a request for hearing received on April 28, 2022.”
  (Hunt Decl., Exs. 2, 3, and 4.) At no time were Plaintiffs served with or provided copies of the
  “request for hearing received on April 27, 2022” or the request for hearing received on April 28,
  2022.

Page 36 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                             BARRAN LIEBMAN LLP
                                            601 SW SECOND AVENUE, SUITE 2300
                                                 PORTLAND, OR 97204-3159
                                           PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ           Document 23                Filed 08/26/22   Page 45 of 52




  attached copies of Plaintiffs’ Answers in which Plaintiffs have raised certain defenses to the claims

  brought by BOLI in the NOIs. (Motion, p. 13; Jeffries Decl., Ex. 1.) Defendants also note that

  Legacy has challenged the Meal Timing Rule in its petition to the Court of Appeals. (Motion, p. 13,

  n. 4.) However, none of the contentions raised by Plaintiffs in their Answers to the NOIs or in

  Plaintiffs’ Petition to the Oregon Court of Appeals regarding the BOLI Meal Timing Rule assert as

  defenses or contentions NLRA preemption or conflict preemption of state regulation by federal law,

  nor can they be adequately resolved in the Agency’s internally controlled proceedings. NLRA

  preemption and conflict preemption are only asserted in Plaintiffs’ First Amended Complaint, First

  Claim for Relief, Counts One and Two. (FAC ¶¶ 82-143.) Federal courts (not state courts) have the

  expertise to rule on complex federal law issues, including whether BOLI’s Meal Timing Rules are

  subject to NLRA preemption and whether the Meal Timing Rule conflicts with federal laws and

  federal programs regarding funding for nonprofit hospitals.

            Even if Defendants could satisfy the requirements of Younger abstention, a federal court

  may nevertheless intervene in a state proceeding upon a showing of bad faith, or harassment by the

  state agency, or unusual or extraordinary circumstance that would call for equitable relief. Younger,

  401 U.S. at 54. Plaintiffs’ allegations, construed in the light most favorable to Plaintiffs, establish

  each of the three exceptions: bad faith, harassment, and unusual and extraordinary circumstances.

  In contrast to Defendants’ arguments (Motion, p. 14), the complaint includes detailed allegations of

  BOLI’s bad faith, including the summary at FAC ¶ 81. Allegations of bad faith include the

  following:

                  •    BOLI acted in bad faith by exceeding its statutory authority by imposing rigid meal
                       time requirements that are not necessary for the preservation of the health of

                       employees. The BOLI meal time rules go beyond what is necessary for the

                       preservation of the health of employees because the rules may be modified or waived

                       by employees covered by collective bargaining agreements and employees who serve

                       food and beverages. (FAC ¶¶ 23, 157-58.)

Page 37 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                                BARRAN LIEBMAN LLP
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             Case 3:22-cv-00573-HZ                Document 23                Filed 08/26/22   Page 46 of 52




                  •    BOLI acted in bad faith by issuing NOIs that arbitrarily sought to impose a maximum
                       penalty of $1,000 per each alleged violation. (FAC ¶¶ 42, 48.) Commissioner Hoyle

                       was required to make an individual assessment and consider not only aggravating

                       circumstances but also mitigating circumstances. (FAC ¶ 52.)

                  •    BOLI acted in bad faith on April 16, 2019, totaling $5,156,000 for the purpose of
                       widely publicizing that the penalties assessed against Legacy are the largest penalties

                       ever sought by BOLI against an Oregon employer. In a press release dated

                       September 13, 2018, BOLI bragged:

                               “$5,156,000 represents the largest potential assessment of civil
                               penalties in the agency’s history.”

                       (Hunt Decl., ¶ 6, Ex. 5.)

                  •    BOLI acted in bad faith by refusing to take into consideration the “community
                       benefit” provided by Legacy as a 501(c)(3) organization under federal law and

                       regulations. Plaintiffs allege in detail the federal regulations governing tax exempt

                       status of charitable hospitals (FAC ¶¶ 128-130) and federal regulations governing

                       Medicare/Medicaid funding. (FAC ¶¶ 131-135.) BOLI acted in bad faith by refusing

                       to take into consideration these code requirements that required Plaintiff hospitals to

                       provide “community benefit” in order to receive necessary federal funding which

                       must be used to improve facilities, equipment, medical training, education, and

                       research, which goals and objectives cannot be met if a state agency assesses millions

                       of dollars of penalties.

                  •    BOLI acted in bad faith by failing to follow required procedures for use and
                       recordkeeping related to penalties collected by BOLI. Despite Plaintiffs’ public

                       records requests, BOLI’s responses to those requests have been sparce and

                       incomplete and it appears that over time BOLI has behaved improperly by retaining




Page 38 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                                     BARRAN LIEBMAN LLP
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                                                   PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ            Document 23                 Filed 08/26/22   Page 47 of 52




                       sums collected as penalties and/or not timely providing those sums to the appropriate

                       agencies pursuant to ORS 653.256(4). (FAC ¶¶ 58-59.)

                  •    BOLI has acted in bad faith by assessing enormous civil penalties which, if collected,
                       will divert Medicare/Medicaid funds and other federal funding that Plaintiff hospitals

                       receive and divert those sums to having to defend against BOLI’s enormous penalty

                       assessments and potentially having to pay the penalties assessed. (FAC ¶ 135.)

                  •    BOLI acted in bad faith by retaining penalty funds assessed against Legacy hospitals
                       and other employers and using those penalties as a source of revenue. (FAC ¶¶

                       54-58.) In the alternative, BOLI has failed to institute and maintain processes to

                       account for the funds collected and the disposition of funds. (FAC ¶ 58.)

                  •    BOLI acted in bad faith by engaging in prosecutorial misconduct. (FAC ¶¶ 41-46.)

                  •    BOLI acted in bad faith by deliberately earmarking penalty money for uses that are
                       inconsistent with the uses established by section 501(c)(3) and other federal

                       regulations. (FAC ¶¶ 123-35.) By its excessive regulations and excessive penalties,

                       BOLI has interfered with the ability to achieve full purpose of federal law. (FAC

                       ¶ 126.) The misuse of penalty authority by assessing $1,000 per violation threatens

                       Legacy’s ability to meet the standards of nonprofit status, potentially removes

                       millions of dollars from patients for whom Legacy receives federal funding and

                       diverts those funds to unauthorized state uses unrelated to the community benefit

                       which Legacy is required by federal law to provide. (FAC ¶ 137.)

                  •    BOLI acted in bad faith by escalating multi-million dollar penalties and threatening
                       future penalties. (FAC ¶¶ 48-50.) In Torres v. Frias, 68 F. Supp. 2d 935, 937 (N.D.

                       Ill. 1999), the plaintiff contended that the defendant’s prosecution of her in effect has

                       chilled her right to engage in political activity, a cousin of the right to free speech

                       guaranteed under the First Amendment. The court held that an exception of the

                       Younger doctrine of abstention applied because plaintiff had evidence to show that

Page 39 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                                  BARRAN LIEBMAN LLP
                                                 601 SW SECOND AVENUE, SUITE 2300
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                                                PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ             Document 23                Filed 08/26/22   Page 48 of 52




                       the state’s prosecution was brough in bad faith and in retaliation for her exercise of

                       constitutionally protected rights. Id. at 942.

                  •    BOLI engaged in bad faith by failing to follow rulemaking procedures when
                       Plaintiffs sought to petition for a change in the mealtime regulation. (FAC ¶¶ 73-77.)

                       The petition set forth detailed reasons for the proposed amendment which would

                       have allowed petitioners and others similarly situated to allow for flexible scheduling

                       of meals and breaks. (FAC ¶ 75.) BOLI Commissioner Hoyle denied the petition

                       without setting forth reasons and thereby failed to comply with ORS 183.390. (FAC

                       ¶¶ 77-78.)

                  •    BOLI acted in bad faith by targeting the Emergency Departments and Family Birth
                       Centers of Plaintiffs’ Mount Hood, Meridian Park, and Good Samaritan Hospitals.

                       (FAC ¶¶ 38-39, 49.) Requiring nurses to take their meal breaks during a two-hour

                       period presents special challenges for nurses working in Emergency Departments

                       and Family Birthing Departments because nurses cannot abandon patients to take

                       breaks and would put patients at risk.

                  •    BOLI acted in bad faith by requiring nurses to take a meal break during a two-hour
                       period because rigid compliance would subject a nurse to a discipline or a loss of

                       license if they ignored patients in order to comply with meal break rules. (See FAC ¶¶

                       35-36.) ORS 441.168 specifically provides that a registered nurse in a hospital may

                       not place a patient at risk of harm by leaving a patient care assignment. (FAC ¶ 35.)

                  •    BOLI acted in bad faith by imposing meal and break rules that conflict with the
                       federal and state rules regulating the practice of nursing. (See, e.g., FAC ¶¶ 161-

                       173.)

                  •    BOLI acted in bad faith by making threats that it would seek to impose fines in the
                       future. (FAC ¶ 207.)



Page 40 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                                  BARRAN LIEBMAN LLP
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                                                PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ            Document 23                Filed 08/26/22   Page 49 of 52




                  •    The Agency engaged in bad faith when it has used or will use excessive penalties as
                       a revenue source for BOLI. (FAC ¶¶ 56-58, 208.)

                  •    BOLI has acted in bad faith by selectively targeting Legacy hospitals for the issuance
                       of notices of intent to assess excessive fines. (FAC ¶ 51.)

            In summary, the Defendants’ position that Plaintiffs have not alleged any facts to support

  Plaintiffs’ contention that BOLI acted in bad faith is contradicted by specific factual allegations

  which, if taken as true, demonstrate that BOLI has behaved in bad faith and that as a consequence

  BOLI, by alleging thousands of violations and seeking a $1,000 penalty for each violation, had no

  reasonable expectation of obtaining a favorable outcome

            Plaintiffs’ complaint also alleges Defendants harassed the Legacy Plaintiffs and their

  employees seeking relief from the rigid and oppressive Meal Timing Rules. In Michael v.

  Letchinger, No. 10 C 3897, 2011 U.S. Dist. LEXIS 86685, *24-25 (N.D. Ill. Aug. 5, 2011) the court

  found that the allegations were sufficient to support a harassment and bad faith exception to the

  Younger doctrine. The court stated in part:

            Taking these charges as true, as the court must at this stage of the litigation, the
            complaint has alleged facts sufficient to support the harassment and bad faith
            exception to the Younger doctrine. See Cullen v. Fliegner, 18 F.3d 96, 104 (2d Cir.
            1994) (Younger abstention rejected where plaintiff alleged history of personal
            conflict and ad hominem discipline); Manos v. Caira, 162 F. Supp. 2d 979, 987 (N.D.
            Ill. 2001) (Younger abstention rejected where plaintiff “alleged throughout the
            complaint that defendants have acted in bad faith and have conspired to harass him
            with vindictive bias”); Torres v. Frias, 68 F. Supp. 2d 935, 939-41 (N.D. Ill. 1999)
            (Younger abstention rejected where “plaintiffs present evidence which paints a
            convincing picture of bad faith on the part of defendants”); Contreras v. City of
            Chicago, 1994 U.S. Dist. LEXIS 17770, 1994 WL 700263, at *3 (N.D. Ill. Dec. 13,
            1994) (Younger abstention rejected where plaintiffs “allege with sufficient
            particularity facts supporting their charges that the defendants’ actions were
            motivated by racial animus”).

            The allegations of the Legacy Plaintiffs’ complaint demonstrate that BOLI harassed

  Plaintiffs and Plaintiffs’ employees. The dispute began with mind-boggling penalty demands and

  included future threats of fines. (FAC ¶¶ 45-50, 120, 207.) It was marked with political

  decision making and demonstrations of favoritism. (FAC ¶ 151.) Employees’ concerns were


Page 41 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                                 BARRAN LIEBMAN LLP
                                                601 SW SECOND AVENUE, SUITE 2300
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                                               PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ        Document 23                 Filed 08/26/22   Page 50 of 52




  disregarded. (FAC ¶¶ 188-97.) Employee witnesses were served with subpoenas which demanded

  they appear in advance of their testimony to speak to the administrative prosecutor.

            In addition, Plaintiffs’ complaint alleges that extraordinary and unusual circumstances create

  a pressing need for immediate federal equitable relief. Kugler v. Helfant, 421 U.S. 117, 124-25

  (1975) (“[C]ircumstances [warranting equitable restraint] must be ‘extraordinary’ in the sense of

  creating an extraordinarily pressing need for immediate federal equitable relief, not merely in the

  sense of presenting a highly unusual factual situation.”); Krahm v. Graham, 461 F.2d 703, 709 (9th

  Cir. 1972) (affirming the injunction as to multiple pending prosecutions in favor of bookstore

  owners who were charged with pornography; mayor had stated publicly that the purpose of the

  petitions was to influence the tenor of the community so that jurors would be more likely to convict);

  see Murphy v. Commonwealth of Va., 896 F. Supp. 577 (E.D. Va. 1995) (“A case of multiple

  prosecutions is one of those occasions when . . . a federal court must not hesitate to act.”); Gibson

  v. Berryhill, 411 U.S. 564, 577-79 (1973) (affirming district court’s decision that state tribunal is

  incompetent by reason of bias); Contreras v. City of Chicago, No. 94 C 4201, 1994 U.S. Dist.

  LEXIS 17770 *10-11 (N.D. Ill. Dec. 9, 1994) (rejecting Younger abstention where plaintiffs alleged

  with sufficient particularity facts supporting the charges that defendants’ actions were motivated by

  racial animus).

            Extraordinary and unusual circumstances are presented in the Legacy Plaintiffs’ lawsuit. On

  April 16, 2019, BOLI served Plaintiff hospitals with a notice of intent to assess penalties (NOIs)

  with regard to 5,156 violations, sought a total in fines of $5,156,000, and issued a press release

  regarding the largest penalty ever sought by BOLI against an employer. (FAC ¶¶ 42, 81.). On

  December 21, 2021, BOLI served new NOIs but the penalties sought were increased to $8,727,000.

  (FAC ¶ 48.) The NOIs from December 21, 2021 were limited to just a few departments. (FAC ¶

  49.) BOLI continues to provide Legacy with notices of alleged additional violations and it has

  threatened that it will continue to seek penalties against Plaintiffs in the future. (FAC ¶ 139.) Unless

  the court intervenes, BOLI will continue to enforce its Meal Timing Rules in a way that obstructs

Page 42 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                              BARRAN LIEBMAN LLP
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                                            PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ       Document 23                 Filed 08/26/22   Page 51 of 52




  Plaintiff hospitals from providing patient care. (FAC ¶¶ 141-42.) BOLI has acted for discriminatory

  and political purposes including its rejection without reasoning of Plaintiffs’ proposed amendment

  to the Meal Timing Rule. (FAC ¶ 151.) BOLI excessive fines selectively target Legacy hospitals;

  similar fines are not directed at other employers, such as unionized hospitals. (FAC ¶ 51.)

            If BOLI succeeds and places Plaintiff hospitals in an untenable financial situation, the

  damage to public health would be staggering. (FAC ¶ 50.)

            Plaintiffs are injured and damaged by having to fund the defense of four separate contested

  case hearings scheduled over a period of several weeks requiring that they spend funds in their

  defense as well as involve and make available for testimony healthcare workers at a time of short

  supply and ongoing medical crisis. (FAC ¶ 119.)

            In conclusion, the Legacy Plaintiffs detailed factual allegations which Defendants concede

  must be accepted as true and establish unusual and extraordinary circumstances that, absent federal

  event intervention, places the Legacy hospitals at peril. (Motion, p. 8.)

                                           V. CONCLUSION

            For the foregoing reasons, Defendants’ Motion to Dismiss should be denied in its entirety.



            DATED this 26th day of August, 2022.


                                                       BARRAN LIEBMAN LLP


                                                             s/Richard C. Hunt
                                                       By
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Page 43 – PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

4862-6933-1504, v. 1                             BARRAN LIEBMAN LLP
                                            601 SW SECOND AVENUE, SUITE 2300
                                                 PORTLAND, OR 97204-3159
                                           PHONE (503) 228-0500 FAX (503) 274-1212
             Case 3:22-cv-00573-HZ          Document 23                Filed 08/26/22   Page 52 of 52




                                        CERTIFICATE OF SERVICE

             I hereby certify that on the 26th day of August 2022, I served the foregoing PLAINTIFFS’

  MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS on the

  following parties:

            Brian Simmonds Marshall, Senior Assistant Attorney General
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  by the following indicated method(s) set forth below:

                      Electronic Filing using the Court’s ECF System

                      Email

                      Facsimile

                      First-class mail, postage prepaid

                      Hand-delivery

                      Overnight courier, delivery prepaid



                                            s/Richard C. Hunt

                                            Richard C. Hunt




CERTIFICATE OF SERVICE

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